                                                                                        Case 4:22-cv-00472-RM      Document 105      Filed 12/02/24   Page 1 of 67




                                                                               1 LORBER, GREENFIELD & OLSEN, LLP
                                                                                 Louis W. Horowitz, Esq. [S.B. #020842]
                                                                               2
                                                                                 3930 E. Ray Road, Suite 260
                                                                               3 Phoenix, AZ 85044
                                                                                 TEL: (602) 437-4177
                                                                               4 FAX: (602) 437-4180

                                                                               5 lhorowitz@lorberlaw.com

                                                                               6 RENZULLI LAW FIRM LLP
                                                                                 Christopher Renzulli, Esq. (Pro Hac Vice)
                                                                               7
                                                                                 Peter Malfa, Esq. (Pro Hac Vice)
                                                                               8 Jeffrey Malsch, Esq. (Pro Hac Vice)
                                                                                 One North Broadway, Suite 1005
                                                                               9 White Plains, NY 10601

                                                                              10 TEL: (914) 285-0700
                                                                                 FAX: (914) 285-1213
                                                                              11 crenzulli@renzullilaw.com
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                                 pmalfa@renzullilaw.com
                                                                              12
                                                                                 jmalsch@renzullilaw.com
                                                                              13
                                                                                 Attorneys for Defendants Diamondback Shooting Sports, Inc.,
                                                                              14 Loan Prairie, LLC d/b/a The Hub, SNG Tactical, LLC and Sprague’s Sports, Inc.

                                                                              15                       IN THE UNITED STATES DISTRICT COURT
                                                                              16                               DISTRICT OF ARIZONA

                                                                              17   Estados Unidos Mexicanos,
                                                                                                                                  Case No: 4:22-cv-00472-TUC-RM
                                                                              18
                                                                                                            Plaintiff,
                                                                              19 vs.
                                                                                                                                  SNG TACTICAL, LLC FIRST AMENDED
                                                                              20                                                  ANSWER AND AFFIRMATIVE
                                                                                   Diamondback Shooting Sports, Inc., an
                                                                              21 Arizona corporation; SNG Tactical, LLC,          DEFENSES TO PLAINTIFF’S
                                                                                                                                  COMPLAINT
                                                                              22
                                                                                 an Arizona limited liability company;
                                                                                 Loan Prairie, LLC D/B/A The Hub, an
                                                                              23 Arizona limited liability company; Ammo
                                                                                                                                  JURY TRIAL DEMANDED
                                                                                 A-Z, LLC, an Arizona limited liability
                                                                              24 company; Sprague’s Sports, Inc., an

                                                                              25 Arizona corporation,

                                                                              26                  Defendants.
                                                                              27
                                                                                        Defendant SnG Tactical, LLC, (“SnG”) by and through its attorneys, Renzulli Law Firm,
                                                                              28
                                                                                                                              1
                                                                                         Case 4:22-cv-00472-RM         Document 105       Filed 12/02/24     Page 2 of 67




                                                                               1 LLP and Lorber, Greenfield & Olsen, LLP, respectfully submits its First Amended Answer to

                                                                               2
                                                                                   Plaintiff’s Complaint as follows:
                                                                               3
                                                                                                                         I. INTRODUCTION
                                                                               4

                                                                               5          1.     SnG denies the allegations in Paragraph 1 of the Complaint, except admits that it

                                                                               6 is a Federal Firearms Licensee located in the State of Arizona. To the extent the allegations in

                                                                               7
                                                                                   Paragraph 1 of the Complaint are directed to other defendants, SnG denies knowledge or
                                                                               8
                                                                                   information sufficient to form a belief about the truth of such allegations, and refers all questions
                                                                               9

                                                                              10 of law to this Honorable Court.

                                                                              11          2.     SnG denies the allegations in Paragraph 2 of the Complaint. To the extent the
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 allegations in Paragraph 2 of the Complaint are directed to other defendants, SnG denies

                                                                              13
                                                                                   knowledge or information sufficient to form a belief about the truth of such allegations, so same are
                                                                              14

                                                                              15
                                                                                   denied.

                                                                              16          3.     SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              17 the actions of the United States or persons unaffiliated with SnG in Paragraph 3 of the Complaint,

                                                                              18
                                                                                   so same are denied, but SnG specifically denies any allegation in Paragraph 3 of the Complaint that
                                                                              19
                                                                                   SnG had actual or constructive knowledge of any alleged illegally activity taking place in its
                                                                              20

                                                                              21 premises.

                                                                              22          4.     SnG states that the allegations in Paragraph 4 of the Complaint are directed to other
                                                                              23
                                                                                   defendants, and as such, no response is required. To the extent that a response is required, it denies
                                                                              24
                                                                                   knowledge or information sufficient to form a belief about the truth of the allegations in Paragraph
                                                                              25

                                                                              26 4 of the Complaint, and refers all questions of law to this Honorable Court.
                                                                              27          5.     SnG denies the allegations in Paragraph 5 of the Complaint. To the extent the
                                                                              28
                                                                                                                                     2
                                                                                         Case 4:22-cv-00472-RM        Document 105       Filed 12/02/24    Page 3 of 67




                                                                               1 allegations in Paragraph 5 of the Complaint are directed to other defendants, SnG denies

                                                                               2
                                                                                   knowledge or information sufficient to form a belief about the truth of such allegations so same are
                                                                               3
                                                                                   denied.
                                                                               4

                                                                               5          6.     SnG denies the allegations in Paragraph 6 of the Complaint. To the extent the

                                                                               6 allegations in Paragraph 6 of the Complaint are directed to other defendants, SnG denies

                                                                               7
                                                                                   knowledge or information sufficient to form a belief about the truth of such allegations. To the
                                                                               8
                                                                                   extent the allegations in Paragraph 6 of the Complaint relate to Plaintiff’s purported motivation in
                                                                               9

                                                                              10 bringing this lawsuit, SnG denies knowledge or information sufficient to form a belief. Defendant

                                                                              11 refers all questions of law to this Honorable Court.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          7.     SnG denies the allegations in Paragraph 7 of the Complaint and refers all questions
                                                                              13
                                                                                   of law to this Honorable Court.
                                                                              14

                                                                              15
                                                                                          8.     SnG states that the allegations in Paragraph 8 of the Complaint are not directed to

                                                                              16 any defendant, and as such, no response is required. To the extent that a response is required, it

                                                                              17 denies knowledge or information sufficient to form a belief about the truth of the allegations in

                                                                              18
                                                                                   Paragraph 8 of the Complaint.
                                                                              19
                                                                                          9.     SnG denies the allegations in Paragraph 9 of the Complaint. To the extent the
                                                                              20

                                                                              21 allegations in Paragraph 9 of the Complaint are directed to other defendants, SnG denies

                                                                              22 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              23
                                                                                   denied.
                                                                              24
                                                                                          10.    SnG denies the allegations in Paragraph 10 of the Complaint. To the extent the
                                                                              25

                                                                              26 allegations in Paragraph 10 of the Complaint are directed to other defendants, SnG denies
                                                                              27 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              28
                                                                                                                                    3
                                                                                         Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24     Page 4 of 67




                                                                               1 denied. To the extent the allegations in Paragraph 10 relate to information outside the knowledge of

                                                                               2
                                                                                   any defendant, SnG denies knowledge or information sufficient to form a belief.
                                                                               3
                                                                                          11.    Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50) and the choice of law
                                                                               4

                                                                               5 analysis contained therein, Mexican law does not apply. Notwithstanding, SnG denies the

                                                                               6 allegations in Paragraph 11 of the Complaint to the extent they relate to purported violations of

                                                                               7
                                                                                   U.S. federal and state statutes, and refers all questions of law to this Honorable Court. To the extent
                                                                               8
                                                                                   the allegations in Paragraph 11 of the Complaint are directed to other defendants, SnG denies
                                                                               9

                                                                              10 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              11 denied.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          12.    Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              13
                                                                                   claims (Counts Nine through Thirteen of the Complaint) and Arizona Consumer Fraud Act claim
                                                                              14

                                                                              15
                                                                                   (Count Seven of the Complaint) were dismissed, and as such, no response to such allegations or

                                                                              16 claims is required. Notwithstanding, SnG denies the factual allegations in Paragraph 12 of the

                                                                              17 Complaint, and refers all questions of law to this Honorable Court. To the extent the allegations in

                                                                              18
                                                                                   Paragraph 12 of the Complaint are directed to other defendants, SnG denies knowledge or
                                                                              19
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                              20

                                                                              21          13.    Paragraphs 13 of the Complaint solely outlines a request for relief, to which a
                                                                              22 response is not required. To the extent that a response is required, SnG denies the allegations in

                                                                              23
                                                                                   Paragraph 13 of the Complaint, notes that the U.S. Government already monitors defendants’
                                                                              24
                                                                                   firearms sales practices through the Department of Justice’s Bureau of Alcohol, Tobacco, Firearms
                                                                              25

                                                                              26 and Explosives (“ATF”), and refers all questions of law to this Honorable Court.
                                                                              27

                                                                              28
                                                                                                                                     4
                                                                                         Case 4:22-cv-00472-RM         Document 105       Filed 12/02/24   Page 5 of 67




                                                                               1                                              II. PARTIES
                                                                               2
                                                                                          14.    SnG admits that Plaintiff is a sovereign nation that shares a border with the United
                                                                               3
                                                                                   States. The remaining allegations in Paragraph 14 of the Complaint call for legal conclusions to
                                                                               4

                                                                               5 which no response is required. To the extent that a response is required, SnG denies the allegations

                                                                               6 in Paragraph 14 of the Complaint, and refers all questions of law to this Honorable Court.

                                                                               7
                                                                                          15.    SnG states that the allegations in Paragraph 15 of the Complaint are directed to
                                                                               8
                                                                                   another defendant. To the extent that a response is required, it denies knowledge or information
                                                                               9

                                                                              10 sufficient to form a belief about the truth of the allegations in Paragraph 15 of the Complaint, and

                                                                              11 refers all questions of law to this Honorable Court.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          16.    SnG denies the allegations in Paragraph 16 of the Complaint, except admits that it is
                                                                              13
                                                                                   a corporation organized and existing under the laws of the State of Arizona.
                                                                              14

                                                                              15
                                                                                          17.    SnG states that the allegations in Paragraph 17 of the Complaint are directed to

                                                                              16 another defendant. To the extent that a response is required, it denies knowledge or information

                                                                              17 sufficient to form a belief about the truth of the allegations in Paragraph 17 of the Complaint, and

                                                                              18
                                                                                   refers all questions of law to this Honorable Court.
                                                                              19
                                                                                          18.    SnG states that the allegations in Paragraph 18 of the Complaint are directed to
                                                                              20

                                                                              21 another defendant. To the extent that a response is required, it denies knowledge or information

                                                                              22 sufficient to form a belief about the truth of the allegations in Paragraph 18 of the Complaint, and

                                                                              23
                                                                                   refers all questions of law to this Honorable Court.
                                                                              24
                                                                                          19.    SnG states that the allegations in Paragraph 19 of the Complaint are directed to
                                                                              25

                                                                              26 another defendant. To the extent that a response is required, it denies knowledge or information
                                                                              27 sufficient to form a belief about the truth of the allegations in Paragraph 18 of the Complaint, and

                                                                              28
                                                                                                                                     5
                                                                                         Case 4:22-cv-00472-RM          Document 105       Filed 12/02/24     Page 6 of 67




                                                                               1 refers all questions of law to this Honorable Court.

                                                                               2
                                                                                          20.    SnG denies the allegations in Paragraph 20 of the Complaint. To the extent that the
                                                                               3
                                                                                   allegations in Paragraph 20 of the Complaint are directed to other defendants, SnG denies
                                                                               4

                                                                               5 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                               6 denied.

                                                                               7
                                                                                                                  III. JURISDICTION AND VENUE
                                                                               8
                                                                                          21.    Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               9

                                                                              10 claims (Counts Nine through Thirteen of the Complaint) were dismissed, and as such, such claims

                                                                              11 do not form the basis for subject matter jurisdiction. SnG admits that there is complete diversity
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 between the Plaintiff and defendants, denies that Plaintiff’s claims for damages have any value, and

                                                                              13
                                                                                   refers all questions of law to this Honorable Court as to whether diversity jurisdiction exists.
                                                                              14

                                                                              15
                                                                                          22.    SnG denies that any “events or omissions” committed by it give rise to any claim

                                                                              16 being brought by Plaintiff, but admits that based on the allegations in the Complaint, venue is

                                                                              17 proper in this District.

                                                                              18
                                                                                                                           IV. DEFENDANTS
                                                                              19
                                                                                          23.    SnG denies the allegations in Paragraph 23 of the Complaint. To the extent that the
                                                                              20

                                                                              21 allegations in Paragraph 23 of the Complaint are directed to other defendants, SnG denies

                                                                              22 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              23
                                                                                   denied.
                                                                              24
                                                                                          24.    SnG denies the allegations in Paragraph 24 of the Complaint. To the extent that the
                                                                              25

                                                                              26 allegations in Paragraph 24 of the Complaint are directed to other defendants, SnG denies
                                                                              27 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              28
                                                                                                                                      6
                                                                                         Case 4:22-cv-00472-RM         Document 105         Filed 12/02/24   Page 7 of 67




                                                                               1 denied.

                                                                               2
                                                                                          25.    SnG denies the allegations in Paragraph 25 of the Complaint To the extent that the
                                                                               3
                                                                                   allegations in Paragraph 25 of the Complaint are directed to other defendants, SnG denies
                                                                               4

                                                                               5 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                               6 denied.

                                                                               7
                                                                                          26.    SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                               8
                                                                                   the allegations in Paragraph 26 of the Complaint, so same are denied.
                                                                               9

                                                                              10          27.    SnG denies knowledge or information sufficient to form a belief about the truth of

                                                                              11 the allegations in Paragraph 27 of the Complaint, so same are denied.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          28.    SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              13
                                                                                   the allegations in Paragraph 28 of the Complaint, so same are denied.
                                                                              14

                                                                              15
                                                                                          29.    SnG denies knowledge or information sufficient to form a belief about the truth of

                                                                              16 the allegations in Paragraph 29 of the Complaint, so same are denied.

                                                                              17          30.    The allegations in Paragraph 30 of the Complaint relate to Plaintiff’s intentions
                                                                              18
                                                                                   related to filing this lawsuit and the substance of its legal claims, to which no response is required
                                                                              19
                                                                                   by this Defendant. To the extent that a response is required, SnG denies that it knowingly and
                                                                              20

                                                                              21 systematically participates in any scheme to traffic firearms into Mexico, and denies knowledge or

                                                                              22 information to form a belief about the truth of the allegations in Paragraph 30 of the Complaint as

                                                                              23
                                                                                   asserted against other defendants, so same are denied.
                                                                              24
                                                                                          31.    SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              25

                                                                              26 the allegations in Paragraph 31 of the Complaint regarding the number of federal firearms licensees
                                                                              27 located in Arizona or the population of Arizona, so same are denied. SnG denies the remaining

                                                                              28
                                                                                                                                     7
                                                                                         Case 4:22-cv-00472-RM        Document 105       Filed 12/02/24    Page 8 of 67




                                                                               1 allegations in Paragraph 31 of the Complaint.

                                                                               2
                                                                                          32.    SnG denies the allegations in Paragraph 32 of the Complaint. To the extent that the
                                                                               3
                                                                                   allegations in Paragraph 32 of the Complaint are directed to other defendants, SnG denies
                                                                               4

                                                                               5 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                               6 denied.

                                                                               7
                                                                                          33.    SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                               8
                                                                                   the allegations in Paragraph 33 of the Complaint, so same are denied.
                                                                               9

                                                                              10          34.    SnG denies the allegations in Paragraph 34 of the Complaint regarding the cartels

                                                                              11 seeking out defendants’ stores and denies knowledge or information sufficient to form a belief
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 about the truth of the allegations in Paragraph 34 of the Complaint regarding the number of

                                                                              13
                                                                                   firearms dealers between Nogales, Arizona and SnG, so same are denied. To the extent that the
                                                                              14

                                                                              15
                                                                                   allegations in Paragraph 34 of the Complaint are directed to other defendants, SnG denies

                                                                              16 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              17 denied.

                                                                              18
                                                                                          35.    SnG denies the allegations in Paragraph 35 of the Complaint. To the extent that the
                                                                              19
                                                                                   allegations in Paragraph 35 of the Complaint are directed to other defendants, SnG denies
                                                                              20

                                                                              21 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              22 denied.

                                                                              23
                                                                                          36.    SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              24
                                                                                   the allegations in Paragraph 36 of the Complaint as to what a federal judge said or didn’t say in an
                                                                              25

                                                                              26 opinion in 2003, but notes that SnG was not a party to the lawsuit referenced in Paragraph 36 of the
                                                                              27 Complaint and denies that decision has any relevance or effect on the claims in this case.

                                                                              28
                                                                                                                                    8
                                                                                         Case 4:22-cv-00472-RM         Document 105       Filed 12/02/24     Page 9 of 67




                                                                               1          37.    SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                               2
                                                                                   the allegations in Paragraph 37 of the Complaint, but denies that the number of traces connected to
                                                                               3
                                                                                   a particular federal firearms licensee is evidence of any illegal, intentional or negligent conduct by
                                                                               4

                                                                               5 such licensee, as ATF has indicated on numerous occasions. SnG further denies knowledge or

                                                                               6 information sufficient to form a belief about the truth as to what a federal judge said or didn’t say in

                                                                               7
                                                                                   an opinion in 2003, but notes that SnG was not a party to the lawsuit referenced in Paragraph 37 of
                                                                               8
                                                                                   the Complaint and denies that decision has any relevance or effect on the claims in this case.
                                                                               9

                                                                              10          38.    SnG denies the allegations in Paragraph 38 of the Complaint. To the extent that the

                                                                              11 allegations in Paragraph 38 of the Complaint are directed to other defendants, SnG denies
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 knowledge or information sufficient to form a belief about the truth of such allegations, so same

                                                                              13
                                                                                   are denied.
                                                                              14

                                                                              15
                                                                                          39.    SnG denies the allegations in Paragraph 39 of the Complaint. To the extent that the

                                                                              16 allegations in Paragraph 39 of the Complaint are directed to other defendants, SnG denies

                                                                              17 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              18
                                                                                   denied.
                                                                              19
                                                                                          40.    SnG denies the allegations in Paragraph 40 of the Complaint. To the extent that the
                                                                              20

                                                                              21 allegations in Paragraph 40 of the Complaint are directed to other defendants, SnG denies

                                                                              22 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              23
                                                                                   denied.
                                                                              24
                                                                                          41.    Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              25

                                                                              26 apply to the action herein, and as such, no response to portions of Paragraph 41 of the Complaint is
                                                                              27 required. SnG denies that it engages in any of the activities alleged in Paragraph 41 of the

                                                                              28
                                                                                                                                     9
                                                                                        Case 4:22-cv-00472-RM         Document 105       Filed 12/02/24     Page 10 of 67




                                                                               1 Complaint, refers all questions of law to this Honorable Court, but admits that a licensed dealer

                                                                               2
                                                                                   who knowingly transfers or sells a firearm to a person it knows is not the “actual transferee/buyer”
                                                                               3
                                                                                   of the firearm, as that term is defined by the ATF, may be in violation of U.S. law.
                                                                               4

                                                                               5          42.    SnG denies the allegations in Paragraph 42 of the Complaint except admits that

                                                                               6 pursuant to 18 U.S.C. § 923(g)(3)(A) and 27 C.F.R. § 478.126a, federally licensed dealers are

                                                                               7
                                                                                   required to file a Report of Multiple Sale or Other Disposition of Pistols and Revolvers (ATF Form
                                                                               8
                                                                                   3310.4) when two or more handguns are disposed of to a non-licensee within a five (5) business
                                                                               9

                                                                              10 day period, and this Report is sent to ATF and a designated local law enforcement agency.

                                                                              11          43.     SnG denies knowledge or information sufficient to form a belief about the truth of
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 the allegations in Paragraph 43 of the Complaint except admits federally licensed dealers located in

                                                                              13
                                                                                   Arizona, California, New Mexico and Texas are required to file a Report of Multiple Sale or Other
                                                                              14

                                                                              15
                                                                                   Disposition of Certain Rifles (ATF Form 3310.12) when two or more semiautomatic rifles capable

                                                                              16 of accepting a detachable magazine and with a caliber greater than .22 are disposed of within a five

                                                                              17 (5) business day period to an unlicensed person.

                                                                              18
                                                                                          44.    SnG denies the allegations in Paragraph 44 of the Complaint. To the extent that the
                                                                              19
                                                                                   allegations in Paragraph 44 of the Complaint refer to “buyers,” “traffickers,” and the “illegal
                                                                              20

                                                                              21 market in Mexico,” SnG denies knowledge or information sufficient to form a belief about the truth

                                                                              22 of such allegations, so same are denied.

                                                                              23
                                                                                          45.    SnG denies the allegations in Paragraph 45 of the Complaint. To the extent that the
                                                                              24
                                                                                   allegations in Paragraph 45 of the Complaint are directed to other defendants, SnG denies
                                                                              25

                                                                              26 knowledge or information sufficient to form a belief about the truth of such allegations, so same are
                                                                              27 denied.

                                                                              28
                                                                                                                                    10
                                                                                        Case 4:22-cv-00472-RM         Document 105       Filed 12/02/24    Page 11 of 67




                                                                               1          46.    SnG denies the allegations in Paragraph 46 of the Complaint.
                                                                               2
                                                                                          47.    SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                               3
                                                                                   the allegations in Paragraph 47 of the Complaint as to what a federal judge said or didn’t say in an
                                                                               4

                                                                               5 opinion in 2003, but notes that SnG was not a party to the lawsuit referenced in Paragraph 47 of the

                                                                               6 Complaint and denies that decision has any relevance or effect on the claims in this case.

                                                                               7
                                                                                          48.    SnG denies the allegations in Paragraph 48 of the Complaint. To the extent that the
                                                                               8
                                                                                   allegations in Paragraph 48 of the Complaint are directed to other defendants, SnG denies
                                                                               9

                                                                              10 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              11 denied.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          49.    SnG denies the allegations in Paragraph 49 of the Complaint and refers all questions
                                                                              13
                                                                                   of law to this Honorable Court.
                                                                              14

                                                                              15
                                                                                          50.    SnG denies the allegations in Paragraph 50 of the Complaint. To the extent that the

                                                                              16 allegations in Paragraph 50 of the Complaint are directed to other defendants, SnG denies

                                                                              17 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              18
                                                                                   denied.
                                                                              19
                                                                                          51.    SnG denies the allegations in Paragraph 51 of the Complaint.
                                                                              20

                                                                              21          52.    SnG denies the allegations in Paragraph 52 of the Complaint and refers all questions
                                                                              22 of law to this Honorable Court. To the extent that the allegations in Paragraph 52 of the Complaint

                                                                              23
                                                                                   are directed to other defendants, SnG denies knowledge or information sufficient to form a belief
                                                                              24
                                                                                   about the truth of such allegations, so same are denied.
                                                                              25

                                                                              26          53.    SnG denies the allegations in Paragraph 53 of the Complaint. To the extent that the
                                                                              27 allegations in Paragraph 53 of the Complaint are directed to other defendants, SnG denies

                                                                              28
                                                                                                                                    11
                                                                                        Case 4:22-cv-00472-RM         Document 105       Filed 12/02/24    Page 12 of 67




                                                                               1 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                               2
                                                                                   denied.
                                                                               3
                                                                                                               V. EXAMPLES OF SPECIFIC SALES
                                                                               4

                                                                               5          54.    SnG denies the allegations in Paragraph 54 of the Complaint. To the extent that the

                                                                               6 allegations in Paragraph 54 of the Complaint are directed to other defendants, SnG denies

                                                                               7
                                                                                   knowledge or information sufficient to form a belief about the truth of such allegations, so same are
                                                                               8
                                                                                   denied.
                                                                               9

                                                                              10          55.    SnG denies the allegations in Paragraph 55 of the Complaint. To the extent that the

                                                                              11 allegations in Paragraph 55 of the Complaint are directed to other defendants, SnG denies
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              13
                                                                                   denied.
                                                                              14

                                                                              15
                                                                                          56.    There are no allegations of fact contained in Paragraph 56 of the Complaint, but SnG

                                                                              16 denies any implication or inference of wrongdoing contained in Paragraph 56 of the Complaint.

                                                                              17          57.    SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              18
                                                                                   the allegations in Paragraph 57 of the Complaint, as they are not directed to SnG, so same are
                                                                              19
                                                                                   denied.
                                                                              20

                                                                              21          58.    SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              22 the allegations in Paragraph 58 of the Complaint, as they are not directed to SnG, so same are

                                                                              23
                                                                                   denied.
                                                                              24
                                                                                          59.    SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              25

                                                                              26 the allegations in Paragraph 59 of the Complaint, as they are not directed to SnG, so same are
                                                                              27 denied.

                                                                              28
                                                                                                                                    12
                                                                                        Case 4:22-cv-00472-RM        Document 105      Filed 12/02/24    Page 13 of 67




                                                                               1          60.    SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                               2
                                                                                   the allegations in Paragraph 60 of the Complaint, as they are not directed to SnG, so same are
                                                                               3
                                                                                   denied.
                                                                               4

                                                                               5          61.    SnG denies knowledge or information sufficient to form a belief about the truth of

                                                                               6 the allegations in Paragraph 61 of the Complaint, as they are not directed to SnG, so same are

                                                                               7
                                                                                   denied.
                                                                               8
                                                                                          62.    SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                               9

                                                                              10 the allegations in Paragraph 62 of the Complaint, as they are not directed to SnG, so same are

                                                                              11 denied.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          63.    SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              13
                                                                                   the allegations in Paragraph 63 of the Complaint, as they are not directed to SnG, so same are
                                                                              14

                                                                              15
                                                                                   denied.

                                                                              16          64.    SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              17 the allegations in Paragraph 64 of the Complaint, as they are not directed to SnG, so same are

                                                                              18
                                                                                   denied.
                                                                              19
                                                                                          65.    SnG denies the allegations in Paragraph 65 of the Complaint and refers all questions
                                                                              20

                                                                              21 of law to this Honorable Court.

                                                                              22          66.    SnG denies the allegations in Paragraph 66 of the Complaint and refers all questions
                                                                              23
                                                                                   of law to this Honorable Court.
                                                                              24
                                                                                          67.    SnG denies the allegations in Paragraph 67 of the Complaint and refers all questions
                                                                              25

                                                                              26 of law to this Honorable Court.
                                                                              27          68.    SnG denies the allegations in Paragraph 68 of the Complaint and refers all questions
                                                                              28
                                                                                                                                  13
                                                                                        Case 4:22-cv-00472-RM        Document 105      Filed 12/02/24    Page 14 of 67




                                                                               1 of law to this Honorable Court.

                                                                               2
                                                                                          69.    SnG denies the allegations in Paragraph 69 of the Complaint and refers all questions
                                                                               3
                                                                                   of law to this Honorable Court.
                                                                               4

                                                                               5          70.    SnG denies the allegations in Paragraph 70 of the Complaint and refers all questions

                                                                               6 of law to this Honorable Court.

                                                                               7
                                                                                          71.    SnG denies the allegations in Paragraph 71 of the Complaint and refers all questions
                                                                               8
                                                                                   of law to this Honorable Court.
                                                                               9

                                                                              10          72.    SnG denies the allegations in Paragraph 72 of the Complaint and refers all questions

                                                                              11 of law to this Honorable Court.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          73.    SnG denies the allegations in Paragraph 73 of the Complaint and refers all questions
                                                                              13
                                                                                   of law to this Honorable Court.
                                                                              14

                                                                              15
                                                                                          74.    SnG denies the allegations in Paragraph 74 of the Complaint and refers all questions

                                                                              16 of law to this Honorable Court.

                                                                              17          75.    SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              18
                                                                                   the allegations in Paragraph 75 of the Complaint, as they are not directed to SnG, so same are
                                                                              19
                                                                                   denied.
                                                                              20

                                                                              21          76.    SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              22 the allegations in Paragraph 76 of the Complaint, as they are not directed to SnG, so same are

                                                                              23
                                                                                   denied.
                                                                              24
                                                                                          77.    SnG denies the allegations in Paragraph 77 of the Complaint and refers all questions
                                                                              25

                                                                              26 of law to this Honorable Court.
                                                                              27          78.    SnG denies the allegations in Paragraph 78 of the Complaint and refers all questions
                                                                              28
                                                                                                                                  14
                                                                                        Case 4:22-cv-00472-RM        Document 105      Filed 12/02/24    Page 15 of 67




                                                                               1 of law to this Honorable Court.

                                                                               2
                                                                                          79.    SnG denies the allegations in Paragraph 79 of the Complaint and refers all questions
                                                                               3
                                                                                   of law to this Honorable Court.
                                                                               4

                                                                               5          80.    SnG denies the allegations in Paragraph 80 of the Complaint and refers all questions

                                                                               6 of law to this Honorable Court.

                                                                               7
                                                                                          81.    SnG denies the allegations in Paragraph 81 of the Complaint and refers all questions
                                                                               8
                                                                                   of law to this Honorable Court.
                                                                               9

                                                                              10          82.    SnG denies the allegations in Paragraph 82 of the Complaint and refers all questions

                                                                              11 of law to this Honorable Court.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          83.    SnG denies the allegations in Paragraph 83 of the Complaint and refers all questions
                                                                              13
                                                                                   of law to this Honorable Court.
                                                                              14

                                                                              15
                                                                                          84.    SnG denies the allegations in Paragraph 84 of the Complaint and refers all questions

                                                                              16 of law to this Honorable Court.

                                                                              17          85.    SnG denies the allegations in Paragraph 85 of the Complaint and refers all questions
                                                                              18
                                                                                   of law to this Honorable Court.
                                                                              19
                                                                                          86.    SnG denies the allegations in Paragraph 86 of the Complaint and refers all questions
                                                                              20

                                                                              21 of law to this Honorable Court.

                                                                              22          87.    SnG denies the allegations in Paragraph 87 of the Complaint and refers all questions
                                                                              23
                                                                                   of law to this Honorable Court.
                                                                              24
                                                                                          88.    SnG denies the allegations in Paragraph 88 of the Complaint and refers all questions
                                                                              25

                                                                              26 of law to this Honorable Court.
                                                                              27          89.    SnG denies the allegations in Paragraph 89 of the Complaint and refers all questions
                                                                              28
                                                                                                                                  15
                                                                                        Case 4:22-cv-00472-RM        Document 105      Filed 12/02/24    Page 16 of 67




                                                                               1 of law to this Honorable Court.

                                                                               2
                                                                                          90.    SnG denies the allegations in Paragraph 90 of the Complaint and refers all questions
                                                                               3
                                                                                   of law to this Honorable Court.
                                                                               4

                                                                               5          91.    SnG denies the allegations in Paragraph 91 of the Complaint and refers all questions

                                                                               6 of law to this Honorable Court.

                                                                               7
                                                                                          92.    SnG denies the allegations in Paragraph 92 of the Complaint and refers all questions
                                                                               8
                                                                                   of law to this Honorable Court.
                                                                               9

                                                                              10          93.    SnG denies the allegations in Paragraph 93 of the Complaint and refers all questions

                                                                              11 of law to this Honorable Court.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          94.    SnG denies the allegations in Paragraph 94 of the Complaint and refers all questions
                                                                              13
                                                                                   of law to this Honorable Court.
                                                                              14

                                                                              15
                                                                                          95.    SnG denies the allegations in Paragraph 95 of the Complaint and refers all questions

                                                                              16 of law to this Honorable Court.

                                                                              17          96.    SnG denies the allegations in Paragraph 96 of the Complaint and refers all questions
                                                                              18
                                                                                   of law to this Honorable Court.
                                                                              19
                                                                                          97.    SnG denies the allegations in Paragraph 97 of the Complaint and refers all questions
                                                                              20

                                                                              21 of law to this Honorable Court.

                                                                              22          98.    SnG denies the allegations in Paragraph 98 of the Complaint and refers all questions
                                                                              23
                                                                                   of law to this Honorable Court.
                                                                              24
                                                                                          99.    SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              25

                                                                              26 the allegations in Paragraph 99 of the Complaint, as they are not directed to SnG, so same are
                                                                              27 denied.

                                                                              28
                                                                                                                                  16
                                                                                        Case 4:22-cv-00472-RM        Document 105      Filed 12/02/24   Page 17 of 67




                                                                               1          100.   SnG denies the allegations in Paragraph 100 of the Complaint and refers all
                                                                               2
                                                                                   questions of law to this Honorable Court.
                                                                               3
                                                                                          101.   SnG denies the allegations in Paragraph 101 of the Complaint and refers all
                                                                               4

                                                                               5 questions of law to this Honorable Court.

                                                                               6          102.   SnG denies the allegations in Paragraph 102 of the Complaint and refers all
                                                                               7
                                                                                   questions of law to this Honorable Court.
                                                                               8
                                                                                          103.   SnG denies the allegations in Paragraph 103 of the Complaint and refers all
                                                                               9

                                                                              10 questions of law to this Honorable Court.

                                                                              11          104.   SnG denies knowledge or information sufficient to form a belief about the truth of
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 the allegations in Paragraph 104 of the Complaint, as they are not directed to SnG, so same are

                                                                              13
                                                                                   denied.
                                                                              14

                                                                              15
                                                                                          105.   SnG denies knowledge or information sufficient to form a belief about the truth of

                                                                              16 the allegations in Paragraph 105 of the Complaint, as they are not directed to SnG, so same are

                                                                              17 denied.

                                                                              18
                                                                                          106.   SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              19
                                                                                   the allegations in Paragraph 106 of the Complaint, as they are not directed to SnG, so same are
                                                                              20

                                                                              21 denied.

                                                                              22          107.   SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              23
                                                                                   the allegations in Paragraph 107 of the Complaint, as they are not directed to SnG, so same are
                                                                              24
                                                                                   denied.
                                                                              25

                                                                              26          108.   SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              27 the allegations in Paragraph 108 of the Complaint, as they are not directed to SnG, so same are

                                                                              28
                                                                                                                                  17
                                                                                        Case 4:22-cv-00472-RM        Document 105      Filed 12/02/24    Page 18 of 67




                                                                               1 denied.

                                                                               2
                                                                                          109.   SnG denies the allegations in Paragraph 109 of the Complaint and refers all
                                                                               3
                                                                                   questions of law to this Honorable Court.
                                                                               4

                                                                               5          110.   SnG denies knowledge or information sufficient to form a belief about the truth of

                                                                               6 the allegations in Paragraph 110 of the Complaint, as they are not directed to SnG, so same are

                                                                               7
                                                                                   denied.
                                                                               8
                                                                                          111.   SnG denies the allegations in Paragraph 111 of the Complaint and refers all
                                                                               9

                                                                              10 questions of law to this Honorable Court.

                                                                              11          112.   SnG denies the allegations in Paragraph 112 of the Complaint and refers all
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 questions of law to this Honorable Court.

                                                                              13
                                                                                          113.   SnG denies the allegations in Paragraph 113 of the Complaint and refers all
                                                                              14

                                                                              15
                                                                                   questions of law to this Honorable Court.

                                                                              16          114.   SnG denies the allegations in Paragraph 114 of the Complaint and refers all
                                                                              17 questions of law to this Honorable Court.

                                                                              18
                                                                                          115.   SnG denies the allegations in Paragraph 115 of the Complaint and refers all
                                                                              19
                                                                                   questions of law to this Honorable Court.
                                                                              20

                                                                              21          116.   SnG denies the allegations in Paragraph 116 of the Complaint and refers all
                                                                              22 questions of law to this Honorable Court.

                                                                              23
                                                                                          117.   SnG denies the allegations in Paragraph 117 of the Complaint and refers all
                                                                              24
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 117 of
                                                                              25

                                                                              26 the Complaint are directed to other defendants, SnG denies knowledge or information sufficient
                                                                              27 to form a belief about the truth of such allegations, so same are denied.

                                                                              28
                                                                                                                                  18
                                                                                        Case 4:22-cv-00472-RM         Document 105         Filed 12/02/24   Page 19 of 67




                                                                               1                                               VI. DATA
                                                                               2
                                                                                          118.   SnG denies the allegations in Paragraph 118 of the Complaint. To the extent that the
                                                                               3
                                                                                   allegations in Paragraph 118 of the Complaint are directed to other defendants, SnG denies
                                                                               4

                                                                               5 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                               6 denied.

                                                                               7
                                                                                          119.   SnG denies the allegations in Paragraph 119 of the Complaint. To the extent that the
                                                                               8
                                                                                   allegations in Paragraph 119 of the Complaint are directed to other defendants, SnG denies
                                                                               9

                                                                              10 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              11 denied.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          120.   SnG denies the allegations in Paragraph 120 of the Complaint. To the extent that the
                                                                              13
                                                                                   allegations in Paragraph 120 of the Complaint are directed to other defendants, SnG denies
                                                                              14

                                                                              15
                                                                                   knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              16 denied.

                                                                              17          121.   SnG denies the allegations in Paragraph 121 of the Complaint and refers all
                                                                              18
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 121 of the
                                                                              19
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              20

                                                                              21 form a belief about the truth of such allegations.

                                                                              22          122.   SnG denies the allegations in Paragraph 122 of the Complaint. To the extent that the
                                                                              23
                                                                                   allegations in Paragraph 122 of the Complaint are directed to other defendants, SnG denies
                                                                              24
                                                                                   knowledge or information sufficient to form a belief about the truth of such allegations, so same are
                                                                              25

                                                                              26 denied.
                                                                              27          123.   SnG denies the allegations in Paragraph 123 of the Complaint. To the extent that the
                                                                              28
                                                                                                                                      19
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 20 of 67




                                                                               1 allegations in Paragraph 123 of the Complaint are directed to other defendants and non-parties,

                                                                               2
                                                                                   SnG denies knowledge or information sufficient to form a belief about the truth of such allegations,
                                                                               3
                                                                                   so same are denied.
                                                                               4

                                                                               5          124.   SnG denies the allegations in Paragraph 124 of the Complaint.

                                                                               6                                VII. DEFENDANTS’ LEGAL DUTIES
                                                                               7
                                                                                          125.   SnG denies the allegations in Paragraph 125 of the Complaint and refers all
                                                                               8
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 125 of the
                                                                               9

                                                                              10 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              11 form a belief about the truth of such allegations, so same are denied.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          126.   SnG denies the allegations in Paragraph 126 of the Complaint and refers all
                                                                              13
                                                                                   questions of law to this Honorable Court.
                                                                              14

                                                                              15
                                                                                          127.   SnG denies the allegations in Paragraph 127 of the Complaint and refers all

                                                                              16 questions of law to his Honorable Court. To the extent that the allegations in Paragraph 127 of the

                                                                              17 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              18
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              19
                                                                                          128.   SnG denies the allegations in Paragraph 128 of the Complaint. To the extent that the
                                                                              20

                                                                              21 allegations in Paragraph 128 of the Complaint are directed to other defendants, SnG denies

                                                                              22 knowledge or information to form a belief about the truth of such allegations, so same are denied.

                                                                              23
                                                                                          129.   SnG denies the allegations in Paragraph 129 of the Complaint and refers all
                                                                              24
                                                                                   questions of law to this Honorable Court.
                                                                              25

                                                                              26          130.   SnG denies the allegations in Paragraph 130 of the Complaint and refers all
                                                                              27 questions of law to this Honorable Court.

                                                                              28
                                                                                                                                    20
                                                                                        Case 4:22-cv-00472-RM         Document 105      Filed 12/02/24     Page 21 of 67




                                                                               1          131.   SnG denies the allegations in Paragraph 131 of the Complaint and refers all
                                                                               2
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 131 of the
                                                                               3
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information to form a belief
                                                                               4

                                                                               5 about the truth of such allegations, so same are denied.

                                                                               6          132.   The Paragraph designated as “132” of the Complaint includes solely legal
                                                                               7
                                                                                   conclusions, and as such, no response is necessary. However, in the event the Court determines
                                                                               8
                                                                                   that an answer is required, SnG states that the referenced statutes and regulation speak for
                                                                               9

                                                                              10 themselves, and refers all questions of law to this Honorable Court.

                                                                              11          133.   The Paragraph designated as “133” of the Complaint includes solely legal
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 conclusions, and as such, no response is necessary. However, in the event the Court determines

                                                                              13
                                                                                   that an answer is required, SnG states that the referenced statutes speak for themselves, and refers
                                                                              14

                                                                              15
                                                                                   all questions of law to this Honorable Court.

                                                                              16          134.   The Paragraph designated as “134” of the Complaint includes solely legal
                                                                              17 conclusions, and as such, no response is necessary. However, in the event the Court determines

                                                                              18
                                                                                   that an answer is required, SnG states that the referenced statute speaks for itself, SnG lacks
                                                                              19
                                                                                   knowledge or information sufficient to form a belief as to why such laws were enacted, and refers
                                                                              20

                                                                              21 all questions of law to this Honorable Court.

                                                                              22          135.   Portions of the Paragraph designated as “135” of the Complaint include solely legal
                                                                              23
                                                                                   conclusions, and as such, no response to same is necessary. SnG states that the referenced statutes
                                                                              24
                                                                                   and regulations speak for themselves, SnG lacks knowledge or information sufficient to form a
                                                                              25

                                                                              26 belief as to why such laws were enacted, and refers all questions of law to this Honorable Court.
                                                                              27 However, SnG admits that the “Bureau of Alcohol, Tobacco, Firearms and Explosives has

                                                                              28
                                                                                                                                   21
                                                                                         Case 4:22-cv-00472-RM          Document 105       Filed 12/02/24      Page 22 of 67




                                                                               1 partnered with the National Shooting Sports Foundation . . . in designing an educational program to

                                                                               2
                                                                                   assist firearm retailers in the detection and possible deterrence of ‘straw purchasers’ . . .”
                                                                               3
                                                                                          136.    SnG denies that the National Shooting Sports Foundation sets “standards” through its
                                                                               4

                                                                               5 “Don’t Lie for the Other Guy” campaign. SnG further states that the literature associated with that

                                                                               6 educational campaign speaks for itself, and denies any remaining allegations in Paragraph 136 of

                                                                               7
                                                                                   the Complaint.
                                                                               8
                                                                                          137.    SnG denies the allegations in Paragraph 137 of the Complaint, except admits that in
                                                                               9

                                                                              10 most circumstances, before transferring a firearm to any person who is not a licensed dealer, among

                                                                              11 other requirements, a licensed dealer may have to conduct a background check, examine the
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 prospective buyer/transferee’s identification, and record the transaction on a firearm transaction

                                                                              13
                                                                                   record, also known as an ATF Form 4473.
                                                                              14

                                                                              15
                                                                                          138.    SnG denies the allegations in Paragraph 138 of the Complaint, except admits that in

                                                                              16 most circumstances, before transferring a firearm to any person who is not a licensed dealer, among

                                                                              17 other requirements, a buyer must fill out an ATF Form 4473, which currently contains question

                                                                              18
                                                                                   21(a), which states the following: “Are you the actual transferee/buyer of all of the firearm(s) listed
                                                                              19
                                                                                   on this form and any continuation sheet(s) (ATF Form 5300.9A)? Warning: You are not the
                                                                              20

                                                                              21 actual transferee/buyer if you are acquiring any of the firearm(s) on behalf of another

                                                                              22 person. If you are not the actual transferee/buyer, the licensee cannot transfer any of the

                                                                              23
                                                                                   firearm(s) to you. Exception: If you are only picking up a repaired firearm(s) for another
                                                                              24
                                                                                   person, you are not required to answer 21.a. and may proceed to question 21.b.”
                                                                              25

                                                                              26          139.    The Paragraph designated as “139” of the Complaint includes solely legal
                                                                              27 conclusions, and as such, no response is necessary. However, in the event the Court determines

                                                                              28
                                                                                                                                      22
                                                                                        Case 4:22-cv-00472-RM         Document 105       Filed 12/02/24     Page 23 of 67




                                                                               1 that an answer is required, SnG states that the referenced statutes and regulations speak for

                                                                               2
                                                                                   themselves, SnG lacks knowledge or information sufficient to form a belief as to why such laws
                                                                               3
                                                                                   were enacted, and refers all questions of law to this Honorable Court.
                                                                               4

                                                                               5          140.   The Paragraph designated as “140” of the Complaint includes solely legal

                                                                               6 conclusions, and as such, no response is necessary. However, in the event the Court determines

                                                                               7
                                                                                   that an answer is required, SnG states that the referenced statutes and regulations speak for
                                                                               8
                                                                                   themselves, and refers all questions of law to this Honorable Court.
                                                                               9

                                                                              10          141.   SnG states that the ATF Form 4473 speaks for itself, denies any remaining

                                                                              11 allegations in Paragraph 141 of the Complaint, and refers all questions of law to his Honorable
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 Court.

                                                                              13
                                                                                          142.   The Paragraph designated as “142” of the Complaint includes solely legal
                                                                              14

                                                                              15
                                                                                   conclusions, and as such, no response is necessary. However, in the event the Court determines

                                                                              16 that an answer is required, SnG states that the referenced statutes and regulations speak for

                                                                              17 themselves, and refers all questions of law to this Honorable Court.

                                                                              18
                                                                                          143.   The Paragraph designated as “143” of the Complaint includes solely legal
                                                                              19
                                                                                   conclusions, and as such, no response is necessary. However, in the event the Court determines
                                                                              20

                                                                              21 that an answer is required, SnG states that the referenced statutes speak for themselves, and refers

                                                                              22 all questions of law to this Honorable Court.

                                                                              23
                                                                                          144.   The Paragraph designated as “144” of the Complaint includes solely legal
                                                                              24
                                                                                   conclusions, and as such, no response is necessary. However, in the event the Court determines
                                                                              25

                                                                              26 that an answer is required, SnG states that the referenced statutes and regulations speak for
                                                                              27 themselves, and refers all questions of law to this Honorable Court.

                                                                              28
                                                                                                                                    23
                                                                                        Case 4:22-cv-00472-RM         Document 105      Filed 12/02/24     Page 24 of 67




                                                                               1          145.   The Paragraph designated as “145” of the Complaint includes solely legal
                                                                               2
                                                                                   conclusions, and as such, no response is necessary. However, in the event the Court determines
                                                                               3
                                                                                   that an answer is required, SnG states that the referenced statutes and regulations speak for
                                                                               4

                                                                               5 themselves, and refers all questions of law to this Honorable Court.

                                                                               6          146.   SnG denies the allegations in Paragraph 146 of the Complaint and refers all
                                                                               7
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 146 of the
                                                                               8
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               9

                                                                              10 form a belief about the truth of such allegations, so same are denied.

                                                                              11          147.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 apply to the action herein. To the extent that a response is required, SnG denies knowledge or

                                                                              13
                                                                                   information sufficient to form a belief about the truth of the allegations in Paragraph 147 of the
                                                                              14

                                                                              15
                                                                                   Complaint.

                                                                              16          148.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              17 apply to the action herein. To the extent that a response is required, SnG denies knowledge or

                                                                              18
                                                                                   information sufficient to form a belief about the truth of the allegations in Paragraph 148 of the
                                                                              19
                                                                                   Complaint.
                                                                              20

                                                                              21          149.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              22 apply to the action herein. To the extent that a response is required, SnG denies knowledge or

                                                                              23
                                                                                   information sufficient to form a belief about the truth of the allegations in Paragraph 149 of the
                                                                              24
                                                                                   Complaint.
                                                                              25

                                                                              26          150.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              27 apply to the action herein. To the extent that a response is required, SnG denies knowledge or

                                                                              28
                                                                                                                                   24
                                                                                        Case 4:22-cv-00472-RM         Document 105      Filed 12/02/24   Page 25 of 67




                                                                               1 information sufficient to form a belief about the truth of the allegations in Paragraph 150 of the

                                                                               2
                                                                                   Complaint, and refers all questions of law to this Honorable Court.
                                                                               3
                                                                                          151.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                               4

                                                                               5 apply to the action herein. To the extent that a response is required, SnG denies knowledge or

                                                                               6 information sufficient to form a belief about the truth of the allegations in Paragraph 151 of the

                                                                               7
                                                                                   Complaint.
                                                                               8
                                                                                          152.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                               9

                                                                              10 apply to the action herein. To the extent that a response is required, SnG denies knowledge or

                                                                              11 information sufficient to form a belief about the truth of the allegations in Paragraph 152 of the
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 Complaint.

                                                                              13
                                                                                          153.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              14

                                                                              15
                                                                                   apply to the action herein. To the extent that a response is required, SnG denies knowledge or

                                                                              16 information sufficient to form a belief about the truth of the allegations in Paragraph 153 of the

                                                                              17 Complaint.

                                                                              18
                                                                                          154.   The Paragraph designated as “154” of the Complaint includes solely legal
                                                                              19
                                                                                   conclusions, and as such, no response is necessary. However, in the event the Court determines
                                                                              20

                                                                              21 that an answer is required, SnG states that the referenced statutes and regulations speak for

                                                                              22 themselves, and refers all questions of law to this Honorable Court.

                                                                              23
                                                                                          155.   The Paragraph designated as “155” of the Complaint includes solely legal
                                                                              24
                                                                                   conclusions, and as such, no response is necessary. However, in the event the Court determines
                                                                              25

                                                                              26 that an answer is required, SnG states that the referenced statutes and regulations speak for
                                                                              27 themselves, and refers all questions of law to this Honorable Court.

                                                                              28
                                                                                                                                   25
                                                                                        Case 4:22-cv-00472-RM         Document 105       Filed 12/02/24    Page 26 of 67




                                                                               1          156.    The Paragraph designated as “156” of the Complaint includes solely legal
                                                                               2
                                                                                   conclusions, and as such, no response is necessary. However, in the event the Court determines
                                                                               3
                                                                                   that an answer is required, SnG states that the referenced statutes and regulations speak for
                                                                               4

                                                                               5 themselves, and refers all questions of law to this Honorable Court.

                                                                               6          157.    The Paragraph designated as “157” of the Complaint includes solely legal
                                                                               7
                                                                                   conclusions, and as such, no response is necessary. However, in the event the Court determines
                                                                               8
                                                                                   that an answer is required, SnG states that the referenced statutes and regulations speak for
                                                                               9

                                                                              10 themselves, and refers all questions of law to this Honorable Court.

                                                                              11          158.    The Paragraph designated as “158” of the Complaint includes solely legal
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 conclusions, and as such, no response is necessary. However, in the event the Court determines

                                                                              13
                                                                                   that an answer is required, SnG states that the referenced statutes and regulations speak for
                                                                              14

                                                                              15
                                                                                   themselves, and refers all questions of law to this Honorable Court.

                                                                              16          159.    The Paragraph designated as “159” of the Complaint includes solely legal
                                                                              17 conclusions, and as such, no response is necessary. However, in the event the Court determines

                                                                              18
                                                                                   that an answer is required, SnG states that the referenced statutes and regulations speak for
                                                                              19
                                                                                   themselves, and refers all questions of law to this Honorable Court.
                                                                              20

                                                                              21          160.    The Paragraph designated as “160” of the Complaint includes legal conclusions, and
                                                                              22 as such, no response is necessary. However, in the event the Court determines that an answer is

                                                                              23
                                                                                   required, SnG states that the referenced statutes and regulations speak for themselves, refers all
                                                                              24
                                                                                   questions of law to this Honorable Court, and admits that murder, drug dealing, extortion, and other
                                                                              25

                                                                              26 criminal acts committed by Cartels in Mexico would constitute a felony if such acts occurred in the
                                                                              27 United States.

                                                                              28
                                                                                                                                    26
                                                                                        Case 4:22-cv-00472-RM         Document 105      Filed 12/02/24     Page 27 of 67




                                                                               1          161.   SnG denies the allegations in Paragraph 161 of the Complaint and refers all
                                                                               2
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 161 of the
                                                                               3
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               4

                                                                               5 form a belief about the truth of such allegations, so same are denied.

                                                                               6          162.   SnG denies the allegations in Paragraph 162 of the Complaint and refers all
                                                                               7
                                                                                   questions of law to this Honorable Court.
                                                                               8
                                                                                          163.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                               9

                                                                              10 apply to the action herein. To the extent that a response is required, SnG denies the allegations in

                                                                              11 Paragraph 163 of the Complaint and refers all questions of law to this Honorable Court.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          164.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              13
                                                                                   apply to the action herein. To the extent that a response is required, SnG denies the allegations in
                                                                              14

                                                                              15
                                                                                   Paragraph 164 of the Complaint and refers all questions of law to this Honorable Court.

                                                                              16          165.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              17 apply to the action herein. To the extent that a response is required, SnG denies the allegations in

                                                                              18
                                                                                   Paragraph 165 of the Complaint and refers all questions of law to this Honorable Court.
                                                                              19
                                                                                          166.   SnG denies the allegations in Paragraph 166 of the Complaint and refers all
                                                                              20

                                                                              21 questions of law to this Honorable Court.

                                                                              22          167.   SnG denies the allegations in Paragraph 167 of the Complaint and refers all
                                                                              23
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 167 of the
                                                                              24
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              25

                                                                              26 form a belief about the truth of such allegations, so same are denied.
                                                                              27          168.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              28
                                                                                                                                   27
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24     Page 28 of 67




                                                                               1 apply to the action herein. Notwithstanding, SnG denies the allegations in Paragraph 168 of the

                                                                               2
                                                                                   Complaint and refers all questions of law to this Honorable Court.
                                                                               3
                                                                                          169.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                               4

                                                                               5 apply to the action herein. Notwithstanding, SnG denies the allegations in Paragraph 169 of the

                                                                               6 Complaint and refers all questions of law to this Honorable Court. To the extent that the allegations

                                                                               7
                                                                                   in Paragraph 169 of the Complaint are directed to other defendants, SnG denies knowledge or
                                                                               8
                                                                                   information sufficient to form a belief about the truth of such allegations, so same are denied.
                                                                               9

                                                                              10          170.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not

                                                                              11 apply to the action herein. Notwithstanding, SnG denies the allegations in Paragraph 170 of the
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 Complaint and refers all questions of law to this Honorable Court.

                                                                              13
                                                                                          171.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does not
                                                                              14

                                                                              15
                                                                                   apply to the action herein. Notwithstanding, SnG denies the allegations in Paragraph 171 of the

                                                                              16 Complaint and refers all questions of law to this Honorable Court.

                                                                              17          172.   SnG denies the allegations in Paragraph 172 of the Complaint and refers all
                                                                              18
                                                                                   questions of law to this Honorable Court.
                                                                              19
                                                                                          173.   SnG denies the allegations in Paragraph 173 of the Complaint and refers all
                                                                              20

                                                                              21 questions of law to this Honorable Court.

                                                                              22          174.   SnG denies the allegations in Paragraph 174 of the Complaint and refers all
                                                                              23
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 174 of the
                                                                              24
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              25

                                                                              26 form a belief about the truth of such allegations, so same are denied.
                                                                              27          175.   SnG denies the allegations in Paragraph 175 of the Complaint and refers all
                                                                              28
                                                                                                                                     28
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 29 of 67




                                                                               1 questions of law to this Honorable Court.

                                                                               2
                                                                                          176.   SnG denies the allegations in Paragraph 176 of the Complaint and refers all
                                                                               3
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 176 of the
                                                                               4

                                                                               5 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                               6 form a belief about the truth of such allegations, so same are denied.

                                                                               7
                                                                                          177.   SnG denies the allegation as to what these defendants can “justly complain” of in
                                                                               8
                                                                                   terms of the Mexico’s unwillingness, inability and ineptitude in controlling, preventing and
                                                                               9

                                                                              10 stemming criminal activity within its borders, but denies information or knowledge sufficient to

                                                                              11 form a belief as to specific programs conducted by law enforcement as set forth in Paragraph 177
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 of the Complaint.

                                                                              13
                                                                                          178.   SnG denies the allegations in Paragraph 178 of the Complaint.
                                                                              14

                                                                              15
                                                                                                      VIII. DEFENDANTS’ ALLEGED RICO VIOLATIONS

                                                                              16          179.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              17 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              18
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              19
                                                                                   SnG denies any factual allegations in Paragraph 179 of the Complaint directed against it, refers all
                                                                              20

                                                                              21 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 179 of the

                                                                              22 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              23
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              24
                                                                                          180.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              25

                                                                              26 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              27 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              28
                                                                                                                                    29
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 30 of 67




                                                                               1 SnG denies any factual allegations in Paragraph 180 of the Complaint directed against it, refers all

                                                                               2
                                                                                   questions of law to this Honorable Court, and to the extent any allegations in Paragraph 180 of the
                                                                               3
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               4

                                                                               5 form a belief about the truth of such allegations, so same are denied.

                                                                               6          181.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               7
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                               8
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                               9

                                                                              10 SnG denies any factual allegations in Paragraph 181 of the Complaint directed against it, refers all

                                                                              11 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 181 of the
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              13
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              14

                                                                              15
                                                                                          182.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                              16 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              17 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              18
                                                                                   SnG denies any factual allegations in Paragraph 182 of the Complaint directed against it, refers all
                                                                              19
                                                                                   questions of law to this Honorable Court, and to the extent any allegations in Paragraph 182 of the
                                                                              20

                                                                              21 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              22 form a belief about the truth of such allegations, so same are denied.

                                                                              23
                                                                                          183.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              24
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              25

                                                                              26 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              27 SnG denies any factual allegations in Paragraph 183 of the Complaint directed against it, refers all

                                                                              28
                                                                                                                                    30
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 31 of 67




                                                                               1 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 183 of the

                                                                               2
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               3
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                               4

                                                                               5          184.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                               6 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                               7
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                               8
                                                                                   SnG denies any factual allegations in Paragraph 184 of the Complaint directed against it, refers all
                                                                               9

                                                                              10 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 184 of the

                                                                              11 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 form a belief about the truth of such allegations, so same are denied.

                                                                              13
                                                                                          185.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              14

                                                                              15
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              16 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              17 SnG denies any factual allegations in Paragraph 185 of the Complaint directed against it, refers all

                                                                              18
                                                                                   questions of law to this Honorable Court, and to the extent any allegations in Paragraph 185 of the
                                                                              19
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              20

                                                                              21 form a belief about the truth of such allegations, so same are denied.

                                                                              22          186.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              23
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              24
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              25

                                                                              26 SnG denies any factual allegations in Paragraph 186 of the Complaint directed against it, refers all
                                                                              27 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 186 of the

                                                                              28
                                                                                                                                    31
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 32 of 67




                                                                               1 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                               2
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                               3
                                                                                          187.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               4

                                                                               5 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                               6 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                               7
                                                                                   SnG denies any factual allegations in Paragraph 187 of the Complaint directed against it, refers all
                                                                               8
                                                                                   questions of law to this Honorable Court, and to the extent any allegations in Paragraph 187 of the
                                                                               9

                                                                              10 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              11 form a belief about the truth of such allegations, so same are denied.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          188.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              13
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              14

                                                                              15
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              16 SnG denies any factual allegations in Paragraph 188 of the Complaint directed against it, refers all

                                                                              17 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 188 of the

                                                                              18
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              19
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              20

                                                                              21          189.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              22 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              23
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              24
                                                                                   SnG denies any factual allegations in Paragraph 189 of the Complaint directed against it, refers all
                                                                              25

                                                                              26 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 189 of the
                                                                              27 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              28
                                                                                                                                    32
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 33 of 67




                                                                               1 form a belief about the truth of such allegations, so same are denied.

                                                                               2
                                                                                          190.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               3
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                               4

                                                                               5 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                               6 SnG denies any factual allegations in Paragraph 190 of the Complaint directed against it, refers all

                                                                               7
                                                                                   questions of law to this Honorable Court, and to the extent any allegations in Paragraph 190 of the
                                                                               8
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               9

                                                                              10 form a belief about the truth of such allegations, so same are denied.

                                                                              11          191.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              13
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              14

                                                                              15
                                                                                   SnG denies any factual allegations in Paragraph 191 of the Complaint directed against it, refers all

                                                                              16 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 191 of the

                                                                              17 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              18
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              19
                                                                                          192.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              20

                                                                              21 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              22 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              23
                                                                                   SnG denies any factual allegations in Paragraph 192 of the Complaint directed against it, refers all
                                                                              24
                                                                                   questions of law to this Honorable Court, and to the extent any allegations in Paragraph 192 of the
                                                                              25

                                                                              26 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              27 form a belief about the truth of such allegations, so same are denied.

                                                                              28
                                                                                                                                    33
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 34 of 67




                                                                               1          193.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               2
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                               3
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                               4

                                                                               5 SnG denies any factual allegations in Paragraph 193 of the Complaint directed against it, refers all

                                                                               6 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 193 of the

                                                                               7
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               8
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                               9

                                                                              10          194.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                              11 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              13
                                                                                   SnG denies any factual allegations in Paragraph 194 of the Complaint directed against it, refers all
                                                                              14

                                                                              15
                                                                                   questions of law to this Honorable Court, and to the extent any allegations in Paragraph 194 of the

                                                                              16 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              17 form a belief about the truth of such allegations, so same are denied.

                                                                              18
                                                                                          195.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              19
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              20

                                                                              21 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              22 SnG denies any factual allegations in Paragraph 195 of the Complaint directed against it, refers all

                                                                              23
                                                                                   questions of law to this Honorable Court, and to the extent any allegations in Paragraph 195 of the
                                                                              24
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              25

                                                                              26 form a belief about the truth of such allegations, so same are denied.
                                                                              27          196.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              28
                                                                                                                                    34
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 35 of 67




                                                                               1 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                               2
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                               3
                                                                                   SnG denies any factual allegations in Paragraph 196 of the Complaint directed against it, refers all
                                                                               4

                                                                               5 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 196 of the

                                                                               6 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                               7
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                               8
                                                                                          197.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               9

                                                                              10 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              11 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 SnG denies any factual allegations in Paragraph 197 of the Complaint directed against it, refers all

                                                                              13
                                                                                   questions of law to this Honorable Court, and to the extent any allegations in Paragraph 197 of the
                                                                              14

                                                                              15
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              16 form a belief about the truth of such allegations, so same are denied.

                                                                              17          198.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              18
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              19
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              20

                                                                              21 SnG denies any factual allegations in Paragraph 198 of the Complaint directed against it, refers all

                                                                              22 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 198 of the

                                                                              23
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              24
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              25

                                                                              26          199.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              27 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              28
                                                                                                                                    35
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 36 of 67




                                                                               1 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                               2
                                                                                   SnG denies any factual allegations in Paragraph 199 of the Complaint directed against it, refers all
                                                                               3
                                                                                   questions of law to this Honorable Court, and to the extent any allegations in Paragraph 199 of the
                                                                               4

                                                                               5 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                               6 form a belief about the truth of such allegations, so same are denied.

                                                                               7
                                                                                          200.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               8
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                               9

                                                                              10 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              11 SnG denies any factual allegations in Paragraph 200 of the Complaint directed against it, refers all
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 200 of the

                                                                              13
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              14

                                                                              15
                                                                                   form a belief about the truth of such allegations, so same are denied.

                                                                              16          201.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              17 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              18
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              19
                                                                                   SnG denies any factual allegations in Paragraph 201 of the Complaint directed against it, refers all
                                                                              20

                                                                              21 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 201 of the

                                                                              22 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              23
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              24
                                                                                          202.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              25

                                                                              26 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              27 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              28
                                                                                                                                    36
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 37 of 67




                                                                               1 SnG denies any factual allegations in Paragraph 202 of the Complaint directed against it, refers all

                                                                               2
                                                                                   questions of law to this Honorable Court, and to the extent any allegations in Paragraph 202 of the
                                                                               3
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               4

                                                                               5 form a belief about the truth of such allegations, so same are denied.

                                                                               6          203.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               7
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                               8
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                               9

                                                                              10 SnG denies any factual allegations in Paragraph 203 of the Complaint directed against it, refers all

                                                                              11 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 203 of the
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              13
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              14

                                                                              15
                                                                                          204.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                              16 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              17 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              18
                                                                                   SnG denies any factual allegations in Paragraph 204 of the Complaint directed against it, refers all
                                                                              19
                                                                                   questions of law to this Honorable Court, and to the extent any allegations in Paragraph 204 of the
                                                                              20

                                                                              21 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              22 form a belief about the truth of such allegations, so same are denied.

                                                                              23
                                                                                          205.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              24
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              25

                                                                              26 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              27 SnG denies any factual allegations in Paragraph 205 of the Complaint directed against it, refers all

                                                                              28
                                                                                                                                    37
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 38 of 67




                                                                               1 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 205 of the

                                                                               2
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               3
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                               4

                                                                               5          206.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                               6 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                               7
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                               8
                                                                                   SnG denies any factual allegations in Paragraph 206 of the Complaint directed against it, refers all
                                                                               9

                                                                              10 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 206 of the

                                                                              11 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 form a belief about the truth of such allegations, so same are denied.

                                                                              13
                                                                                          207.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              14

                                                                              15
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              16 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              17 SnG denies any factual allegations in Paragraph 207 of the Complaint directed against it, refers all

                                                                              18
                                                                                   questions of law to this Honorable Court, and to the extent any allegations in Paragraph 207 of the
                                                                              19
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              20

                                                                              21 form a belief about the truth of such allegations, so same are denied.

                                                                              22          208.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              23
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              24
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              25

                                                                              26 SnG denies any factual allegations in Paragraph 208 of the Complaint directed against it, refers all
                                                                              27 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 208 of the

                                                                              28
                                                                                                                                    38
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 39 of 67




                                                                               1 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                               2
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                               3
                                                                                          209.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               4

                                                                               5 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                               6 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                               7
                                                                                   SnG denies any factual allegations in Paragraph 209 of the Complaint directed against it, refers all
                                                                               8
                                                                                   questions of law to this Honorable Court, and to the extent any allegations in Paragraph 209 of the
                                                                               9

                                                                              10 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              11 form a belief about the truth of such allegations, so same are denied.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          210.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              13
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                              14

                                                                              15
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              16 SnG denies any factual allegations in Paragraph 210 of the Complaint directed against it, refers all

                                                                              17 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 210 of the

                                                                              18
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              19
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              20

                                                                              21          211.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              22 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              23
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              24
                                                                                   SnG denies any factual allegations in Paragraph 211 of the Complaint directed against it, refers all
                                                                              25

                                                                              26 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 211 of the
                                                                              27 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              28
                                                                                                                                    39
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 40 of 67




                                                                               1 form a belief about the truth of such allegations, so same are denied.

                                                                               2
                                                                                          212.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               3
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                               4

                                                                               5 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                               6 SnG denies any factual allegations in Paragraph 212 of the Complaint directed against it, refers all

                                                                               7
                                                                                   questions of law to this Honorable Court, and to the extent any allegations in Paragraph 212 of the
                                                                               8
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               9

                                                                              10 form a belief about the truth of such allegations, so same are denied.

                                                                              11          213.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              13
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                              14

                                                                              15
                                                                                   SnG denies any factual allegations in Paragraph 213 of the Complaint directed against it, refers all

                                                                              16 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 213 of the

                                                                              17 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              18
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              19
                                                                                          214.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              20

                                                                              21 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to

                                                                              22 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              23
                                                                                   SnG denies any factual allegations in Paragraph 214 of the Complaint directed against it, refers all
                                                                              24
                                                                                   questions of law to this Honorable Court, and to the extent any allegations in Paragraph 214 of the
                                                                              25

                                                                              26 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              27 form a belief about the truth of such allegations, so same are denied.

                                                                              28
                                                                                                                                    40
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 41 of 67




                                                                               1          215.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               2
                                                                                   claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
                                                                               3
                                                                                   the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,
                                                                               4

                                                                               5 SnG denies any factual allegations in Paragraph 215 of the Complaint directed against it, refers all

                                                                               6 questions of law to this Honorable Court, and to the extent any allegations in Paragraph 215 of the

                                                                               7
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               8
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                               9

                                                                              10          216.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                              11 claims (Counts Nine through Thirteen of the Complaint) were dismissed. As such, no response to
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 the allegations related to or in support of Plaintiff’s RICO claims is required. Notwithstanding,

                                                                              13
                                                                                   SnG denies any factual allegations in Paragraph 216 of the Complaint directed against it, refers all
                                                                              14

                                                                              15
                                                                                   questions of law to this Honorable Court, and to the extent any allegations in Paragraph 216 of the

                                                                              16 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              17 form a belief about the truth of such allegations, so same are denied.

                                                                              18
                                                                                        IX. DEFENDANTS’ ALLEGED CONSUMER FRAUD STATUTE VIOLATIONS
                                                                              19
                                                                                          217.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              20

                                                                              21 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                              22 response to the allegations related to or in support of Plaintiff’s CFA claims is required.

                                                                              23
                                                                                   Notwithstanding, SnG denies the allegations in Paragraph 217 of the Complaint, refers all
                                                                              24
                                                                                   questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 217 of
                                                                              25

                                                                              26 the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              27 form a belief about the truth of such allegations, so same are denied.

                                                                              28
                                                                                                                                    41
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 42 of 67




                                                                               1          218.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                               2
                                                                                   Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
                                                                               3
                                                                                   response to the allegations related to or in support of Plaintiff’s CFA claims is required.
                                                                               4

                                                                               5 Notwithstanding, SnG denies the allegations in Paragraph 218 of the Complaint, refers all

                                                                               6 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 218 of

                                                                               7
                                                                                   the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               8
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                               9

                                                                              10          219.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona

                                                                              11 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 response to the allegations related to or in support of Plaintiff’s CFA claims is required.

                                                                              13
                                                                                   Notwithstanding, SnG denies the allegations in Paragraph 219 of the Complaint, refers all
                                                                              14

                                                                              15
                                                                                   questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 219 of

                                                                              16 the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              17 form a belief about the truth of such allegations, so same are denied.

                                                                              18
                                                                                          220.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              19
                                                                                   Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
                                                                              20

                                                                              21 response to the allegations related to or in support of Plaintiff’s CFA claims is required.

                                                                              22 Notwithstanding, SnG denies the allegations in Paragraph 220 of the Complaint, refers all

                                                                              23
                                                                                   questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 220 of
                                                                              24
                                                                                   the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              25

                                                                              26 form a belief about the truth of such allegations, so same are denied.
                                                                              27          221.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              28
                                                                                                                                    42
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 43 of 67




                                                                               1 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                               2
                                                                                   response to the allegations related to or in support of Plaintiff’s CFA claims is required.
                                                                               3
                                                                                   Notwithstanding, SnG denies the allegations in Paragraph 221 of the Complaint, refers all
                                                                               4

                                                                               5 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 221 of

                                                                               6 the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                               7
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                               8
                                                                                          222.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                               9

                                                                              10 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                              11 response to the allegations related to or in support of Plaintiff’s CFA claims is required.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 Notwithstanding, SnG denies the allegations in Paragraph 222 of the Complaint, refers all

                                                                              13
                                                                                   questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 222 of
                                                                              14

                                                                              15
                                                                                   the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              16 form a belief about the truth of such allegations, so same are denied.

                                                                              17          223.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              18
                                                                                   Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
                                                                              19
                                                                                   response to the allegations related to or in support of Plaintiff’s CFA claims is required.
                                                                              20

                                                                              21 Notwithstanding, SnG denies the allegations in Paragraph 223 of the Complaint, refers all

                                                                              22 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 223 of

                                                                              23
                                                                                   the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              24
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              25

                                                                              26          224.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              27 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                              28
                                                                                                                                    43
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 44 of 67




                                                                               1 response to the allegations related to or in support of Plaintiff’s CFA claims is required.

                                                                               2
                                                                                   Notwithstanding, SnG denies the allegations in Paragraph 224 of the Complaint, refers all
                                                                               3
                                                                                   questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 224 of
                                                                               4

                                                                               5 the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                               6 form a belief about the truth of such allegations, so same are denied.

                                                                               7
                                                                                          225.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                               8
                                                                                   Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
                                                                               9

                                                                              10 response to the allegations related to or in support of Plaintiff’s CFA claims is required.

                                                                              11 Notwithstanding, SnG denies the allegations in Paragraph 225 of the Complaint, refers all
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 225 of

                                                                              13
                                                                                   the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              14

                                                                              15
                                                                                   form a belief about the truth of such allegations, so same are denied.

                                                                              16          226.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              17 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                              18
                                                                                   response to the allegations related to or in support of Plaintiff’s CFA claims is required.
                                                                              19
                                                                                   Notwithstanding, SnG denies the allegations in Paragraph 226 of the Complaint, refers all
                                                                              20

                                                                              21 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 226 of

                                                                              22 the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              23
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              24
                                                                                          227.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              25

                                                                              26 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
                                                                              27 response to the allegations related to or in support of Plaintiff’s CFA claims is required.

                                                                              28
                                                                                                                                    44
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 45 of 67




                                                                               1 Notwithstanding, SnG denies the allegations in Paragraph 227 of the Complaint, refers all

                                                                               2
                                                                                   questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 227 of
                                                                               3
                                                                                   the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               4

                                                                               5 form a belief about the truth of such allegations, so same are denied.

                                                                               6          228.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                               7
                                                                                   Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
                                                                               8
                                                                                   response to the allegations related to or in support of Plaintiff’s CFA claims is required.
                                                                               9

                                                                              10 Notwithstanding, SnG denies the allegations in Paragraph 228 of the Complaint, refers all

                                                                              11 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 228 of
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              13
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              14

                                                                              15
                                                                                          229.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona

                                                                              16 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                              17 response to the allegations related to or in support of Plaintiff’s CFA claims is required.

                                                                              18
                                                                                   Notwithstanding, SnG denies the allegations in Paragraph 229 of the Complaint, refers all
                                                                              19
                                                                                   questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 229 of
                                                                              20

                                                                              21 the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              22 form a belief about the truth of such allegations, so same are denied.

                                                                              23
                                                                                          230.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              24
                                                                                   Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
                                                                              25

                                                                              26 response to the allegations related to or in support of Plaintiff’s CFA claims is required.
                                                                              27 Notwithstanding, SnG denies the allegations in Paragraph 230 of the Complaint, refers all

                                                                              28
                                                                                                                                    45
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 46 of 67




                                                                               1 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 230 of

                                                                               2
                                                                                   the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               3
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                               4

                                                                               5          231.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona

                                                                               6 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                               7
                                                                                   response to the allegations related to or in support of Plaintiff’s CFA claims is required.
                                                                               8
                                                                                   Notwithstanding, SnG denies the allegations in Paragraph 231 of the Complaint, refers all
                                                                               9

                                                                              10 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 231 of

                                                                              11 the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 form a belief about the truth of such allegations, so same are denied.

                                                                              13
                                                                                          232.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              14

                                                                              15
                                                                                   Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                              16 response to the allegations related to or in support of Plaintiff’s CFA claims is required.

                                                                              17 Notwithstanding, SnG denies the allegations in Paragraph 232 of the Complaint, refers all

                                                                              18
                                                                                   questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 232 of
                                                                              19
                                                                                   the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              20

                                                                              21 form a belief about the truth of such allegations, so same are denied.

                                                                              22          233.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              23
                                                                                   Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no
                                                                              24
                                                                                   response to the allegations related to or in support of Plaintiff’s CFA claims is required.
                                                                              25

                                                                              26 Notwithstanding, SnG denies the allegations in Paragraph 233 of the Complaint, refers all
                                                                              27 questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 233 of

                                                                              28
                                                                                                                                    46
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 47 of 67




                                                                               1 the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                               2
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                               3
                                                                                          234.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                               4

                                                                               5 Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed. As such, no

                                                                               6 response to the allegations related to or in support of Plaintiff’s CFA claims is required.

                                                                               7
                                                                                   Notwithstanding, SnG denies the allegations in Paragraph 234 of the Complaint, refers all
                                                                               8
                                                                                   questions of law to this Honorable Court, and to the extent that the allegations in Paragraph 234 of
                                                                               9

                                                                              10 the Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              11 form a belief about the truth of such allegations, so same are denied.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12                   X. DEFENDANTS’ ALLEGED HARM TO GOVERNMENT
                                                                              13
                                                                                          235.   SnG denies the allegations in Paragraph 235 of the Complaint. To the extent that the
                                                                              14

                                                                              15
                                                                                   allegations in Paragraph 235 of the Complaint are directed to other defendants, SnG denies

                                                                              16 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              17 denied.

                                                                              18
                                                                                          236.   SnG denies the allegations in Paragraph 236 of the Complaint and refers all
                                                                              19
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 236 of the
                                                                              20

                                                                              21 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              22 form a belief about the truth of such allegations, so same are denied.

                                                                              23
                                                                                          237.   SnG denies the allegations in Paragraph 237 of the Complaint and refers all
                                                                              24
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 237 of the
                                                                              25

                                                                              26 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              27 form a belief about the truth of such allegations, so same are denied.

                                                                              28
                                                                                                                                    47
                                                                                        Case 4:22-cv-00472-RM         Document 105         Filed 12/02/24   Page 48 of 67




                                                                               1          238.   SnG denies the allegations in Paragraph 238 of the Complaint and refers all
                                                                               2
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 238 of the
                                                                               3
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               4

                                                                               5 form a belief about the truth of such allegations, so same are denied.

                                                                               6          239.   SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                               7
                                                                                   the allegations in Paragraph 239 of the Complaint.
                                                                               8
                                                                                          240.   SnG denies the allegations in Paragraph 240 of the Complaint and refers all
                                                                               9

                                                                              10 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 240 of the

                                                                              11 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 form a belief about the truth of such allegations.

                                                                              13
                                                                                          241.   SnG denies the allegations in Paragraph 241 of the Complaint and refers all
                                                                              14

                                                                              15
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 241 of the

                                                                              16 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              17 form a belief about the truth of such allegations, so same are denied.

                                                                              18
                                                                                          242.   SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              19
                                                                                   the allegations in Paragraph 242 of the Complaint regarding any link between “gun trafficking
                                                                              20

                                                                              21 from the United States” to “horrendous consequences in Mexico” and as well as the increase in

                                                                              22 illegal gun ownership and homicide rate in Mexico. SnG denies the remaining allegations in

                                                                              23
                                                                                   Paragraph 242 of the Complaint.
                                                                              24
                                                                                          243.   SnG denies the allegations in Paragraph 243 of the Complaint.
                                                                              25

                                                                              26          244.   SnG denies the allegations in Paragraph 244 of the Complaint.
                                                                              27          245.   SnG denies the allegations in Paragraph 245 of the Complaint.
                                                                              28
                                                                                                                                      48
                                                                                        Case 4:22-cv-00472-RM         Document 105       Filed 12/02/24    Page 49 of 67




                                                                               1          246.   SnG denies the allegations in Paragraph 246 of the Complaint.
                                                                               2
                                                                                          247.   SnG denies the allegations in Paragraph 247 of the Complaint. To the extent that the
                                                                               3
                                                                                   allegations in Paragraph 247 of the Complaint are directed to other defendants, SnG denies
                                                                               4

                                                                               5 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                               6 denied.

                                                                               7
                                                                                          248.   SnG denies the allegations in Paragraph 248 of the Complaint and refers all
                                                                               8
                                                                                   questions of law as to what damages are legally recoverable by Plaintiff to this Honorable Court.
                                                                               9

                                                                              10          249.   SnG denies knowledge or information sufficient to form a belief about the truth of

                                                                              11 the allegations in Paragraph 249 regarding life expectancy trends in Mexico, but denies the
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 allegation that deaths caused by firearms sold by SnG was causally related to any such downward

                                                                              13
                                                                                   trends. To the extent that the allegations in Paragraph 249 of the Complaint are directed to other
                                                                              14

                                                                              15
                                                                                   defendants, SnG denies knowledge or information sufficient to form a belief about the truth of such

                                                                              16 allegations, so same are denied.

                                                                              17          250.   SnG denies the allegations in Paragraph 250 of the Complaint.
                                                                              18
                                                                                          251.   SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              19
                                                                                   the allegations in Paragraph 251 of the Complaint.
                                                                              20

                                                                              21          252.   SnG denies the allegations in Paragraph 252 of the Complaint. To the extent that the
                                                                              22 allegations in Paragraph 252 of the Complaint are directed to other defendants, SnG denies

                                                                              23
                                                                                   knowledge or information sufficient to form a belief about the truth of such allegations, so same are
                                                                              24
                                                                                   denied.
                                                                              25

                                                                              26          253.   SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              27 the allegations in Paragraph 253 of the Complaint, and will hold Plaintiff to its proof in admissible

                                                                              28
                                                                                                                                    49
                                                                                           Case 4:22-cv-00472-RM       Document 105      Filed 12/02/24    Page 50 of 67




                                                                               1 form.

                                                                               2
                                                                                            254.   SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                               3
                                                                                   the allegations in Paragraph 254 of the Complaint, and will hold Plaintiff to its proof in admissible
                                                                               4

                                                                               5 form.

                                                                               6            255.   SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                               7
                                                                                   the allegations in Paragraph 255 of the Complaint, and will hold Plaintiff to its proof in admissible
                                                                               8
                                                                                   form.
                                                                               9

                                                                              10            256.   SnG denies knowledge or information sufficient to form a belief about the truth of

                                                                              11 the allegations in Paragraph 256 of the Complaint, and will hold Plaintiff to its proof in admissible
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 form.

                                                                              13
                                                                                            257.   SnG denies knowledge or information sufficient to form a belief about the truth of
                                                                              14

                                                                              15
                                                                                   the allegations in Paragraph 257 of the Complaint, and will hold Plaintiff to its proof in admissible

                                                                              16 form.

                                                                              17            258.   SnG denies the allegations in Paragraph 258 of the Complaint. To the extent that the
                                                                              18
                                                                                   allegations in Paragraph 258 of the Complaint are directed to other defendants, SnG denies
                                                                              19
                                                                                   knowledge or information sufficient to form a belief about the truth of such allegations, so same are
                                                                              20

                                                                              21 denied.

                                                                              22            259.   SnG denies the allegations in Paragraph 259 of the Complaint and refers all
                                                                              23
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 259 of the
                                                                              24
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              25

                                                                              26 form a belief about the truth of such allegations, so same are denied.
                                                                              27            260.   SnG denies the allegations in Paragraph 260 of the Complaint and refers all
                                                                              28
                                                                                                                                    50
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 51 of 67




                                                                               1 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 260 of the

                                                                               2
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               3
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                               4

                                                                               5                                      XI. CLAIMS FOR RELIEF

                                                                               6                                              COUNT ONE
                                                                                                                            (NEGLIGENCE)
                                                                               7

                                                                               8          261.   SnG hereby repeats and incorporates by reference its response to each preceding and

                                                                               9 succeeding Paragraph as though fully set forth herein.

                                                                              10
                                                                                          262.   SnG denies the allegations in Paragraph 262 of the Complaint and refers all
                                                                              11
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   questions of law to this Honorable Court.
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12

                                                                              13          263.   SnG denies the allegations in Paragraph 263 of the Complaint and refers all

                                                                              14 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 263 of the

                                                                              15
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              16
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              17

                                                                              18          264.   SnG denies the allegations in Paragraph 264 of the Complaint and refers all

                                                                              19 questions of law to this Honorable Court.

                                                                              20
                                                                                          265.   SnG denies the allegations in Paragraph 265 of the Complaint and refers all
                                                                              21
                                                                                   questions of law to this Honorable Court.
                                                                              22

                                                                              23                                            COUNT TWO
                                                                                                                         (PUBLIC NUISANCE)
                                                                              24
                                                                                          266.   SnG hereby repeats and incorporates by reference its response to each preceding and
                                                                              25

                                                                              26 succeeding Paragraph as though fully set forth herein.
                                                                              27          267.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s public
                                                                              28
                                                                                                                                    51
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 52 of 67




                                                                               1 nuisance claim was dismissed. As such, no response to this claim is required.

                                                                               2
                                                                                          268.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s public
                                                                               3
                                                                                   nuisance claim was dismissed. As such, no response to this claim is required.
                                                                               4

                                                                               5          269.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s public

                                                                               6 nuisance claim was dismissed. As such, no response to this claim is required.

                                                                               7
                                                                                          270.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s public
                                                                               8
                                                                                   nuisance claim was dismissed. As such, no response to this claim is required.
                                                                               9

                                                                              10          271.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s public

                                                                              11 nuisance claim was dismissed. As such, no response to this claim is required.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          272.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s public
                                                                              13
                                                                                   nuisance claim was dismissed. As such, no response to this claim is required.
                                                                              14

                                                                              15
                                                                                          273.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s public

                                                                              16 nuisance claim was dismissed. As such, no response to this claim is required.

                                                                              17                                         COUNT THREE
                                                                              18                                   (NEGLIGENT ENTRUSTMENT)

                                                                              19          274.   SnG hereby repeats and incorporates by reference its response to each preceding and
                                                                              20
                                                                                   succeeding Paragraph as though fully set forth herein.
                                                                              21
                                                                                          275.   SnG denies the allegations in Paragraph 275 of the Complaint and refers all
                                                                              22

                                                                              23 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 275 of the

                                                                              24 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              25
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              26
                                                                                          276.   SnG denies the allegations in Paragraph 276 of the Complaint and refers all
                                                                              27

                                                                              28 questions of law to this Honorable Court.
                                                                                                                                    52
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 53 of 67




                                                                               1          277.   SnG denies the allegations in Paragraph 277 of the Complaint and refers all
                                                                               2
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 277 of the
                                                                               3
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               4

                                                                               5 form a belief about the truth of such allegations, so same are denied.

                                                                               6          278.   SnG denies the allegations in Paragraph 278 of the Complaint and refers all
                                                                               7
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 278 of the
                                                                               8
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               9

                                                                              10 form a belief about the truth of such allegations, so same are denied.

                                                                              11          279.   SnG denies the allegations in Paragraph 279 of the Complaint and refers all
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 279 of the

                                                                              13
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              14

                                                                              15
                                                                                   form a belief about the truth of such allegations, so same are denied.

                                                                              16          280.   SnG denies the allegations in Paragraph 280 of the Complaint and refers all
                                                                              17 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 280 of the

                                                                              18
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              19
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              20

                                                                              21          281.   SnG denies the allegations in Paragraph 281 of the Complaint.
                                                                              22          282.   SnG denies the allegations in Paragraph 282 of the Complaint and refers all
                                                                              23
                                                                                   questions of law to this Honorable Court.
                                                                              24
                                                                                          283.   SnG denies the allegations in Paragraph 283 of the Complaint and refers all
                                                                              25

                                                                              26 questions of law to this Honorable Court.
                                                                              27

                                                                              28
                                                                                                                                    53
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 54 of 67




                                                                               1                                           COUNT FOUR
                                                                                                                       (NEGLIGENCE PER SE)
                                                                               2

                                                                               3          284.   SnG hereby repeats and incorporates by reference its response to each preceding and

                                                                               4 succeeding Paragraph as though fully set forth herein.

                                                                               5
                                                                                          285.   SnG denies the allegations in Paragraph 285 of the Complaint and refers all
                                                                               6
                                                                                   questions of law to this Honorable Court.
                                                                               7

                                                                               8          286.   SnG denies the allegations in Paragraph 286 of the Complaint and refers all

                                                                               9 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 286 of the

                                                                              10
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                              11
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                   form a belief about the truth of such allegations, so same are denied.
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12

                                                                              13          287.   SnG denies the allegations in Paragraph 287 of the Complaint and refers all

                                                                              14 questions of law to this Honorable Court.

                                                                              15
                                                                                                                           COUNT FIVE
                                                                              16                                       (GROSS NEGLIGENCE)
                                                                              17          288.   SnG hereby repeats and incorporates by reference its response to each preceding and
                                                                              18
                                                                                   succeeding Paragraph as though fully set forth herein.
                                                                              19
                                                                                          289.   SnG denies the allegations in Paragraph 289 of the Complaint and refers all
                                                                              20

                                                                              21 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 289 of the

                                                                              22 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              23
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              24
                                                                                          290.   SnG denies the allegations in Paragraph 290 of the Complaint and refers all
                                                                              25

                                                                              26 questions of law to this Honorable Court.
                                                                              27          291.   SnG denies the allegations in Paragraph 291 of the Complaint and refers all
                                                                              28
                                                                                                                                    54
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 55 of 67




                                                                               1 questions of law to this Honorable Court.

                                                                               2
                                                                                          292.   SnG denies the allegations in Paragraph 292 of the Complaint and refers all
                                                                               3
                                                                                   questions of law to this Honorable Court.
                                                                               4

                                                                               5          293.   SnG denies the allegations in Paragraph 293 of the Complaint and refers all

                                                                               6 questions of law to this Honorable Court.

                                                                               7
                                                                                                                       COUNT SIX
                                                                               8                          (UNJUST ENRICHMENT AND RESTITUTION)

                                                                               9          294.   SnG hereby repeats and incorporates by reference its response to each preceding and
                                                                              10
                                                                                   succeeding Paragraph as though fully set forth herein.
                                                                              11
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                          295.   SnG denies the allegations in Paragraph 295 of the Complaint. To the extent that the
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12

                                                                              13 allegations in Paragraph 295 of the Complaint are directed to other defendants, SnG denies

                                                                              14 knowledge or information sufficient to form a belief about the truth of such allegations, so same are

                                                                              15
                                                                                   denied.
                                                                              16
                                                                                          296.   SnG denies the allegations in Paragraph 296 of the Complaint and refers all
                                                                              17

                                                                              18 questions of law to this Honorable Court.
                                                                              19          297.   SnG denies the allegations in Paragraph 297 of the Complaint and refers all
                                                                              20
                                                                                   questions of law to this Honorable Court.
                                                                              21
                                                                                          298.   SnG denies the allegations in Paragraph 298 of the Complaint and refers all
                                                                              22

                                                                              23 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 298 of the

                                                                              24 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              25
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              26
                                                                                          299.   SnG denies the allegations in Paragraph 299 of the Complaint and refers all
                                                                              27

                                                                              28 questions of law to this Honorable Court.
                                                                                                                                    55
                                                                                        Case 4:22-cv-00472-RM         Document 105      Filed 12/02/24     Page 56 of 67




                                                                               1          300.   SnG denies the allegations in Paragraph 300 of the Complaint and refers all
                                                                               2
                                                                                   questions of law to this Honorable Court. To the extent that the allegations in Paragraph 300 of the
                                                                               3
                                                                                   Complaint are directed to other defendants, SnG denies knowledge or information sufficient to
                                                                               4

                                                                               5 form a belief about the truth of such allegations, so same are denied.

                                                                               6          301.   SnG denies the allegations in Paragraph 301 of the Complaint and refers all
                                                                               7
                                                                                   questions of law to this Honorable Court.
                                                                               8
                                                                                          302.   SnG denies the allegations in Paragraph 302 of the Complaint and refers all
                                                                               9

                                                                              10 questions of law to this Honorable Court.

                                                                              11                                      COUNT SEVEN
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                                             (ARIZONA’S CONSUMER FRAUD ACT)
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12

                                                                              13          303.   SnG hereby repeats and incorporates by reference its response to each precedent and

                                                                              14 succeeding Paragraph as though fully set forth herein.

                                                                              15
                                                                                          304.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              16
                                                                                   Consumer Fraud Act claim was dismissed. As such, no response to this claim is required.
                                                                              17

                                                                              18          305.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona

                                                                              19 Consumer Fraud Act claim was dismissed. As such, no response to this claim is required.

                                                                              20
                                                                                          306.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              21
                                                                                   Consumer Fraud Act claim was dismissed. As such, no response to this claim is required.
                                                                              22

                                                                              23          307.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona

                                                                              24 Consumer Fraud Act claim was dismissed. As such, no response to this claim is required.

                                                                              25
                                                                                          308.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                              26
                                                                                   Consumer Fraud Act claim was dismissed. As such, no response to this claim is required.
                                                                              27

                                                                              28          309.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s Arizona
                                                                                                                                   56
                                                                                        Case 4:22-cv-00472-RM         Document 105        Filed 12/02/24    Page 57 of 67




                                                                               1 Consumer Fraud Act claim was dismissed. As such, no response to this claim is required.

                                                                               2
                                                                                                                           COUNT EIGHT
                                                                               3                                        (PUNITIVE DAMAGES)

                                                                               4          310.   SnG hereby repeats and incorporates by reference its response to each preceding and
                                                                               5
                                                                                   succeeding Paragraph as though fully set forth herein.
                                                                               6
                                                                                          311.   SnG denies the allegations in Paragraph 311 of the Complaint and refers all
                                                                               7

                                                                               8 questions of law to this Honorable Court. To the extent that the allegations in Paragraph 311 of the

                                                                               9 Complaint are directed to other defendants, SnG denies knowledge or information sufficient to

                                                                              10
                                                                                   form a belief about the truth of such allegations, so same are denied.
                                                                              11
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                          312.   SnG denies the allegations in Paragraph 312 of the Complaint and refers all
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12

                                                                              13 questions of law to this Honorable Court.

                                                                              14          313.   SnG denies the allegations in Paragraph 313 of the Complaint and refers all
                                                                              15
                                                                                   questions of law to this Honorable Court.
                                                                              16
                                                                                                                COUNT NINE
                                                                              17           (RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT)
                                                                              18                              18 U.S.C. § 1962(c)

                                                                              19                                        Defendant SnG Tactical
                                                                              20
                                                                                          314.   SnG hereby repeats and incorporates by reference its response to each preceding and
                                                                              21
                                                                                   succeeding Paragraph as though fully set forth herein.
                                                                              22

                                                                              23          315.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                              24 claims were dismissed. As such, no response to this claim is required.

                                                                              25
                                                                                          316.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              26
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                              27

                                                                              28          317.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                                                                                    57
                                                                                        Case 4:22-cv-00472-RM         Document 105      Filed 12/02/24      Page 58 of 67




                                                                               1 claims were dismissed. As such, no response to this claim is required.

                                                                               2
                                                                                          318.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               3
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                               4

                                                                               5          319.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                               6 claims were dismissed. As such, no response to this claim is required.

                                                                               7
                                                                                                                COUNT TEN
                                                                               8           (RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT)
                                                                                                              18 U.S.C. § 1962(c)
                                                                               9

                                                                              10                                       Defendant Diamondback

                                                                              11          320.   SnG hereby repeats and incorporates by reference its response to each preceding and
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 succeeding Paragraph as though fully set forth herein.

                                                                              13
                                                                                          321.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              14

                                                                              15
                                                                                   claims were dismissed. As such, no response to this claim is required.

                                                                              16          322.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              17 claims were dismissed. As such, no response to this claim is required.

                                                                              18
                                                                                          323.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              19
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                              20

                                                                              21          324.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              22 claims were dismissed. As such, no response to this claim is required.

                                                                              23
                                                                                          325.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              24
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                              25

                                                                              26
                                                                              27

                                                                              28
                                                                                                                                   58
                                                                                        Case 4:22-cv-00472-RM         Document 105      Filed 12/02/24      Page 59 of 67




                                                                               1                              COUNT ELEVEN
                                                                                           (RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT)
                                                                               2
                                                                                                              18 U.S.C. § 1962(c)
                                                                               3
                                                                                                                     Defendant Sprague’s Sports
                                                                               4

                                                                               5          326.   SnG hereby repeats and incorporates by reference its response to each preceding and

                                                                               6 succeeding Paragraph as though fully set forth herein.

                                                                               7
                                                                                          327.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               8
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                               9

                                                                              10          328.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                              11 claims were dismissed. As such, no response to this claim is required.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12          329.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              13
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                              14

                                                                              15
                                                                                          330.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

                                                                              16 claims were dismissed. As such, no response to this claim is required.

                                                                              17          331.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              18
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                              19
                                                                                                              COUNT TWELVE
                                                                              20
                                                                                           (RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT)
                                                                              21                              18 U.S.C. § 1962(c)
                                                                              22                                         Defendant Ammo AZ
                                                                              23
                                                                                          332.   SnG hereby repeats and incorporates by reference its response to each preceding and
                                                                              24
                                                                                   succeeding Paragraph as though fully set forth herein.
                                                                              25

                                                                              26          333.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              27 claims were dismissed. As such, no response to this claim is required.

                                                                              28
                                                                                                                                   59
                                                                                        Case 4:22-cv-00472-RM         Document 105      Filed 12/02/24      Page 60 of 67




                                                                               1          334.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               2
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                               3
                                                                                          335.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               4

                                                                               5 claims were dismissed. As such, no response to this claim is required.

                                                                               6          336.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               7
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                               8
                                                                                          337.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                               9

                                                                              10 claims were dismissed. As such, no response to this claim is required.

                                                                              11                             COUNT THIRTEEN
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                           (RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT)
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                                              18 U.S.C. § 1962(c)
                                                                              13
                                                                                                                          Defendant The Hub
                                                                              14

                                                                              15
                                                                                          338.   SnG hereby repeats and incorporates by reference its response to each preceding and

                                                                              16 succeeding Paragraph as though fully set forth herein.

                                                                              17          339.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              18
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                              19
                                                                                          340.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              20

                                                                              21 claims were dismissed. As such, no response to this claim is required.

                                                                              22          341.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              23
                                                                                   claims were dismissed. As such, no response to this claim is required.
                                                                              24
                                                                                          342.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              25

                                                                              26 claims were dismissed. As such, no response to this claim is required.
                                                                              27          343.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
                                                                              28
                                                                                                                                   60
                                                                                        Case 4:22-cv-00472-RM         Document 105       Filed 12/02/24    Page 61 of 67




                                                                               1 claims were dismissed. As such, no response to this claim is required.

                                                                               2
                                                                                                                  XII. DEMAND FOR JUDGMENT
                                                                               3
                                                                                         SnG denies each and every allegation contained in the Demand for Judgment of Plaintiff’s
                                                                               4

                                                                               5 Complaint, including the allegations contained in the paragraphs designated “a” through “k” of

                                                                               6 same.

                                                                               7
                                                                                                                          GENERAL DENIAL
                                                                               8
                                                                                         Any allegation in the Complaint that is not specifically admitted is denied.
                                                                               9

                                                                              10                                     AFFIRMATIVE DEFENSES

                                                                              11         1.     Plaintiff’s Complaint, and each and every cause of action contained therein, is
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 barred by the substantive immunity provided by the Protection of Lawful Commerce in Arms

                                                                              13 Act, 15 U.S.C. §§ 7901-03.

                                                                              14         2.     Plaintiff lacks Article III Standing to bring this suit.
                                                                              15         3.     Plaintiff’s claims fail due to a lack of proximate causation.
                                                                              16         4.     Plaintiff’s Complaint, and each and every cause of action contained therein, fails
                                                                              17 to state facts sufficient to state a claim.

                                                                              18         5.     Each of Plaintiff’s causes of action in the Complaint are barred, in whole or in
                                                                              19 part, by the applicable statutes of limitations, thereby barring recovery of any damages, or a

                                                                              20 reduction thereto. Specifically, Defendant contends that Plaintiff’s Complaint is barred, in whole

                                                                              21 or in part, by the one-year statute of limitations applicable to consumer fraud claims, A.R.S. §

                                                                              22 12-541 (however, pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s

                                                                              23 Arizona Consumer Fraud Act (“CFA”) claim (Count Seven of the Complaint) was dismissed);

                                                                              24 two-year statute of limitations for tort claims and negligence claims, A.R.S. § 12-542; the three-

                                                                              25 year statute of limitations, which applies to claims for restitution, A.RS. § 12-543; the four-year

                                                                              26 statute of limitations, which is applicable to claims for unjust enrichment , A.R.S. § 12-550.
                                                                              27         6.     Plaintiff failed to add parties indispensable to this case, including, but not limited
                                                                              28 to, the Unites States Government (including but not limited to the DOJ, ATF, ICE, DEA, FBI
                                                                                                                                    61
                                                                                       Case 4:22-cv-00472-RM        Document 105      Filed 12/02/24    Page 62 of 67




                                                                               1 and DHS), the alleged straw purchasers identified or unidentified in the Complaint, the alleged

                                                                               2 firearm traffickers identified and unidentified in the Complaint, the people who allegedly

                                                                               3 committed crimes with firearms sold by defendants, Mexican government, military, and law

                                                                               4 enforcement officials who supply illegal firearms to cartels, the foreign sources of firearms for

                                                                               5 cartels in Mexico, including those located in Central and South America, and the cartel

                                                                               6 members, associates, or agents thereof.

                                                                               7        7.     Any damages suffered by Plaintiff were proximately caused, in whole or in part,
                                                                               8 by the failure of Plaintiff to exercise reasonable care in curtailing and/or remedying the ongoing

                                                                               9 violence inflicted by the cartels on its own people, and therefore, Plaintiff’s recovery, if any,

                                                                              10 must be diminished by the proportion of the negligence, acquiescence, and/or inaction of

                                                                              11 Plaintiff, which proximately caused or contributed to Plaintiff’s alleged damages.
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12        8.     Any damages suffered by Plaintiff were proximately caused, in whole or in part,
                                                                              13 by the negligence or other actionable conduct of persons or entities other than SnG. Therefore,

                                                                              14 should SnG be found liable to Plaintiff as a result of the incidents alleged in the Complaint, the

                                                                              15 amount of Plaintiff’s recovery, if any, should be no greater than an amount which is equal to

                                                                              16 SnG’s proportionate share, if any, of the combined negligence or other actionable conduct of

                                                                              17 those persons or entities whose negligence or actionable conduct proximately caused Plaintiff’s

                                                                              18 alleged damages.
                                                                              19        9.     Plaintiff has failed to mitigate its damages, if any, suffered as a result of the
                                                                              20 incidents set forth in the Complaint.

                                                                              21        10.    Plaintiff’s claims for damages are barred by the economic loss rule.
                                                                              22        11.    Any damages suffered by Plaintiff were a direct and proximate result of
                                                                              23 superseding and intervening cause(s) based on the numerous criminal actions committed

                                                                              24 subsequent to any sale of firearms by SnG and before the alleged harm to Plaintiff.

                                                                              25        12.    Plaintiff is estopped from claiming the damages alleged against SnG in the
                                                                              26 Complaint because of Plaintiff’s negligence, improper conduct, acquiescence and/or inaction in
                                                                              27 creating, failing to curtail or remedy the ongoing violence inflicted by the cartels on its own

                                                                              28 people, including the doctrine of unclean hands, including estoppel by representation, estoppel
                                                                                                                                 62
                                                                                       Case 4:22-cv-00472-RM        Document 105       Filed 12/02/24    Page 63 of 67




                                                                               1 by acquiescence, equitable estoppel and estoppel by convention. Plaintiff has presented or stated

                                                                               2 facts that were not true and upon which Defendant detrimentally relied, including that it would

                                                                               3 police its borders, stop corruption and the illegal flow of firearms within its country, and would

                                                                               4 make efforts to prevent and deter cartel violence, drug violence and related firearms crimes. In

                                                                               5 addition, Plaintiff’s own negligence, improper conduct, acquiescence, and/or inaction in failing

                                                                               6 to curtail or remedy cartel and drug violence while intentionally and/or negligently ignoring and

                                                                               7 turning a blind eye to such issues precludes Plaintiff from bringing this lawsuit. Plaintiff’s

                                                                               8 alleged injuries/damages were caused by its own illegal activities or the illegal activities of

                                                                               9 persons under its control. Such illegal activities would include, but are not limited to, illegal

                                                                              10 conduct with the cartels, police and law enforcement corruption, allowing persons to illegally

                                                                              11 possess firearms, obtaining firearms from illegal sources, intentionally and/or negligently
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 ignoring and turning a blind eye to drug, cartel and illegal firearms trafficking activities in

                                                                              13 Mexico, and/or other illegal schemes or conduct that resulted in harm to Mexico’s citizens

                                                                              14 and/or violence by the cartels. Further, Plaintiff has failed to control the illegal importation of

                                                                              15 firearms into Mexico on multiple borders, eliminate, curtail or remedy cartel violence, and

                                                                              16 Plaintiff’s own nonfeasance and malfeasance with respect to allowing the cartels to operate

                                                                              17 and/or intentionally and/or negligently ignoring and turning a blind eye to drug, cartel and

                                                                              18 illegal firearms trafficking activities and issues in Mexico has contributed to the alleged injuries
                                                                              19 sustained by Plaintiff.

                                                                              20        13.    Plaintiff’s claims for punitive and/or exemplary damages are precluded by
                                                                              21 operation of Ariz. Rev. Stat. § 12-689.

                                                                              22        14.    Plaintiff is not entitled to a damage award violative of SnG’s due process and
                                                                              23 equal protection rights and other rights set forth in the United States Constitution or rights under

                                                                              24 the Arizona Constitution. SnG expressly reserves any and all constitutional defenses, claims,

                                                                              25 and arguments against the imposition of punitive damages against it or the amount of same or in

                                                                              26 any other manner relating to punitive damages. Plaintiff’s claim for punitive damages against
                                                                              27 SnG: violates the Sixth Amendment of the United States Constitution because SnG is not

                                                                              28 informed of the nature and cause of the accusations against it, and thus, the allegations are void
                                                                                                                                  63
                                                                                       Case 4:22-cv-00472-RM         Document 105       Filed 12/02/24     Page 64 of 67




                                                                               1 for vagueness; violates SnG’s rights to substantive and procedural due process as provided in the

                                                                               2 Fifth and Fourteenth Amendments of the United States Constitution; violates the due process

                                                                               3 clause of Fourteenth Amendment to the United States Constitution; violates SnG’s right to equal

                                                                               4 protection as provided in the Fourteenth Amendment to the United States Constitution; violates

                                                                               5 SnG’s right to contract, as provided in Article I, Section 10 of the United States Constitution;

                                                                               6 exposes SnG to double jeopardy in violation of the Fifth Amendment of the United States

                                                                               7 Constitution; constitutes an impermissible burden on international and interstate commerce in

                                                                               8 violation of Article I, Section 8 of the United States Constitution; violates the separation of

                                                                               9 powers doctrine embodied in Article VI of the United States Constitution; and constitutes the

                                                                              10 imposition of an excessive fine in violation of SnG’s rights provided in the Eighth Amendment

                                                                              11 of the United States Constitution. Plaintiff’s claim for punitive or exemplary damages is further
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 barred by Article 2, Section 4, of the Arizona Constitution.

                                                                              13         15.    SnG invokes the provisions of Title 12, Chapter 16 of the Arizona Revised
                                                                              14 Statutes, the Uniform Contribution Among Tortfeasors Act, including the right to contribution,

                                                                              15 pro rata shares, release, comparative negligence, the lack of joint and several liability, and

                                                                              16 apportionment of fault.

                                                                              17         16.    Plaintiff’s claims against SnG are barred or should be reduced by the comparative
                                                                              18 fault of others, including, but not limited to, Plaintiff, pursuant to Ariz. Rev. Stat. § 12-2506.
                                                                              19         17.    SnG did not owe Plaintiff a legal duty to protect Plaintiff or its citizens from the
                                                                              20 particular risk of harm that caused, or was the substantial factor in causing, the incidents alleged

                                                                              21 in the Complaint.

                                                                              22         18.    Plaintiff lacks prudential standing based on its quasi-sovereign interest in the
                                                                              23 health and well-being of its residents because parens patriae standing should not be recognized

                                                                              24 in a foreign nation unless there is a clear indication of intent to grant such standing expressed by

                                                                              25 the Supreme Court or by the two coordinate branches of government.

                                                                              26         19.    All or a portion of Plaintiff’s claims are barred due to the law of the case doctrine.
                                                                              27         20.    The Court lacks subject matter jurisdiction over this case.
                                                                              28         21.    There was no special relationship between SnG and Plaintiff and/or the third-party
                                                                                                                                   64
                                                                                        Case 4:22-cv-00472-RM         Document 105          Filed 12/02/24   Page 65 of 67




                                                                               1 actors at fault, so SnG did not owe Plaintiff a duty as a matter of law.

                                                                               2         22.     Plaintiff’s claims are in violation of the First Amendment of the United States
                                                                               3 Constitution, which guarantees SnG’s right to commercial free speech.

                                                                               4         23.     Plaintiff’s claims are in violation of the Second Amendment of the United States
                                                                               5 Constitution, which guarantees the right to bear arms, and the citizenry’s right to access such

                                                                               6 arms from Defendant.

                                                                               7         24.     Plaintiff’s claims are barred by the provisions of the Commerce Clause of the
                                                                               8 Constitution of the United States, Article I, Section 8.

                                                                               9         25.     Plaintiff’s negligent entrustment claim fails because this cause of action is
                                                                              10 inapplicable in the context of the sales of chattel alleged in the Complaint.

                                                                              11         26.     Plaintiff’s claims for relief before the Court violate the United States and Arizona
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12 State constitutional separation of powers in that Plaintiff seeks to have the judicial branch create

                                                                              13 legislative policy.

                                                                              14         27.     Plaintiff’s claims are too remote and derivative to permit recovery as a matter of
                                                                              15 law.

                                                                              16         28.     Plaintiff’s Complaint, which aggregates unidentified shootings by unidentified
                                                                              17 persons in unidentified circumstances over an unspecified period of time, is barred by the

                                                                              18 Seventh Amendment of the Constitution of the United States.
                                                                              19         29.     Plaintiff’s claims are barred by the doctrine of latches.
                                                                              20                                    DEMAND FOR JURY TRIAL
                                                                              21         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, SnG demands a trial by jury
                                                                              22 of all issues triable of right by a jury in this action.

                                                                              23
                                                                                         WHEREFORE, SnG hereby requests the following relief:
                                                                              24
                                                                                         1.      That Plaintiff takes nothing by his Complaint;
                                                                              25
                                                                                         2.      That Plaintiff’s Complaint be dismissed with prejudice on the merits;
                                                                              26
                                                                                         3.      That SnG recovers its costs, attorney’s fees, and disbursements herein; and
                                                                              27

                                                                              28         4.      Such other relief as the Court herein deems just and equitable.

                                                                                                                                     65
                                                                                     Case 4:22-cv-00472-RM   Document 105    Filed 12/02/24    Page 66 of 67




                                                                               1

                                                                               2 Dated: December 2, 2024

                                                                               3
                                                                                                             RENZULLI LAW FIRM LLP
                                                                               4

                                                                               5                             By:   /s/ Jeffrey Malsch
                                                                                                                   Christopher Renzulli, Esq. (Pro Hac Vice)
                                                                               6
                                                                                                                   Peter Malfa, Esq. (Pro Hac Vice)
                                                                               7                                   Jeffrey Malsch, Esq. (Pro Hac Vice)
                                                                                                                   One North Broadway, Suite 1005
                                                                               8                                   White Plains, NY 10601
                                                                               9
                                                                                                             LORBER, GREENFIELD & OLSEN, LLP
                                                                              10
                                                                                                                   Louis W. Horowitz, Esq.
                                                                              11                                   3930 E. Ray Road, Suite 260
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180




                                                                                                                   Phoenix, AZ 85044
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12
                                                                                                                   Attorneys for Defendants
                                                                              13                                   Diamondback Shooting Sports, Inc.,
                                                                                                                   Loan Prairie, LLC d/b/a The Hub,
                                                                              14                                   SNG Tactical, LLC and
                                                                                                                   Sprague’s Sports, Inc.
                                                                              15

                                                                              16

                                                                              17

                                                                              18
                                                                              19

                                                                              20

                                                                              21

                                                                              22

                                                                              23

                                                                              24

                                                                              25

                                                                              26
                                                                              27

                                                                              28
                                                                                                                        66
                                                                                       Case 4:22-cv-00472-RM        Document 105       Filed 12/02/24   Page 67 of 67




                                                                               1                                  CERTIFICATE OF SERVICE
                                                                               2        I, Jeffrey Malsch, hereby certify that this document was filed with the Clerk of the Court
                                                                               3 via CM/ECF. Those attorneys who are registered with the Court’s electronic filing system may

                                                                               4 access this filing through the Court’s CM/ECF system, and notice of this filing will be sent to

                                                                               5 these parties by operation of the Court’s electronic filings system.

                                                                               6

                                                                               7 Dated: December 2, 2024

                                                                               8

                                                                               9                                            By:    /s/ Jeffrey Malsch
                                                                                                                                   Jeffrey Malsch
                                                                              10
                                                                                                                                   jmalsch@renzullilaw.com
                                                                              11
LORBER, GREENFIELD & OLSEN, LLP
                        Telephone (602) 437-4177 / Facsimile (602) 437-4180
                          3930 E. Ray Road, Suite 260, Phoenix, AZ 85044




                                                                              12

                                                                              13

                                                                              14

                                                                              15

                                                                              16

                                                                              17

                                                                              18
                                                                              19

                                                                              20

                                                                              21

                                                                              22

                                                                              23

                                                                              24

                                                                              25

                                                                              26
                                                                              27

                                                                              28
                                                                                                                                  67
